THE FIRING SQUAD AS “A KNOWN AND AVAILABLE..., 49 U. Mich. J.L....




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THE FIRING SQUAD AS “A KNOWN AND AVAILABLE ALTERNATIVE
METHOD OF EXECUTION” POST-GLOSSIP

          In the future . . . some inmates may suggest the firing squad as an alternative [to lethal injection] . . . . 1 [S]uch
          visible yet relatively painless violence may be vastly preferable to an excruciatingly painful death hidden behind
          a veneer of medication. 2




INTRODUCTION

In Glossip v. Gross, 3 the United States Supreme Court held 5-4 that three death row inmates failed to establish that
the drug midazolam created “a substantial risk of severe pain” when used as the first of three drugs in Oklahoma's
lethal injection procedure. 4 Writing for the majority, Justice Samuel Alito explained that the *750 evidence presented
from both sides supported the district court's view: “midazolam can render a person insensate to pain” 5 and petitioners
had failed to demonstrate midazolam's inadequacy under the Eighth Amendment's Cruel and Unusual Punishments
Clause. 6 In addition, the Court provided “two independent reasons” to affirm the district court's determination: 7 first,
petitioners could not “identify a known and available alternative method of execution that entails a lesser risk of pain,
a requirement of all Eighth Amendment method-of-execution claims,” 8 and second, they were unable to show that the
district court committed clear error in rejecting petitioners' arguments. 9

The Court's rationale concerning alternative methods of execution potentially represents Glossip's broadest impact. Even
though Richard Glossip's fate remains unknown 10 and the case's striking dissents captured much of the legal and media
commentary, 11 this Article focuses on how Glossip may serve as Eighth Amendment precedent. Such an objective is
particularly timely given states' ongoing frustrations in finding lethal injection drugs, despite the Court's approval of
midazolam. 12


Glossip is the second of two Supreme Court cases concerning lethal injection drugs decided in close succession. 13 In
the first case, Baze v. Rees, 14 the Court held, in a highly splintered 7-2 decision *751 with a plurality opinion, 15
that Kentucky's use of a three-drug protocol, the most common lethal injection procedure in 2008, satisfied the Eighth
Amendment's Cruel and Unusual Punishments Clause. 16 Defendants had failed to demonstrate that the protocol posed
a “substantial” or “objectively intolerable” risk of “serious harm” 17 compared to “known and available alternatives.” 18
The three-drug protocol at issue in Baze consisted of the following: sodium thiopental, a barbiturate anesthetic that


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brings about deep unconsciousness; pancuronium bromide, a total muscle relaxant that paralyzes all voluntary muscles
and causes suffocation; and potassium chloride, a toxin that induces irreversible cardiac arrest. 19 According to Baze,
states using “substantially similar” protocols would be on constitutionally safe ground. 20 As a result, many observers
of the death penalty anticipated that Baze would quell execution method challenges. 21


Glossip's credibility rests on the belief that Baze “cleared any legal obstacle to the use of [this] three-drug protocol.” 22
Yet there is no basis for that belief, quite the contrary. The three-drug protocol at issue in Baze is no longer viable
due to ongoing and unpredictable shortages of lethal injection drugs during the years following the Court's decision.
Indeed, these shortages have created far more litigation and upheaval than the wide range of lethal injection challenges
that preceded Baze. 23 The litigation has also targeted two developments: first, the continual efforts by departments
of corrections to seek never-tried lethal injection drugs and protocols and *752 second, a series of widely publicized
botched executions, a disproportionate number of which have involved the use of midazolam. 24 Overall, then, states
have adopted wholly inappropriate drug substitutes to keep executions going despite risky and chaotic results. 25 Glossip
is the Court's effort to review yet another lethal injection protocol a mere seven years after Baze. 26

This Article does not address the medical debate surrounding the role of midazolam in executions; the problems
associated with using the drug have been persuasively argued elsewhere. 27 Nor does it question the soundness of
the Glossip Court's “alternative method of execution” requirement. 28 Rather, this Article's proposed reform is a
constitutionally acceptable alternative that meets the Glossip Court's standard, rendering moot--at least for the purposes
of the following discussion--very real concerns regarding the validity of that dictate. 29

Part I of this Article pinpoints several areas where the Glossip Court goes wrong in glaringly inaccurate or misleading
ways, given the vast history and literature on execution methods and their *753 changes from the nineteenth century
through the start of the twenty-first century. Part II analyzes the Court's “known and available alternative method of
execution” standard as defined by both the majority opinion and Justice Sonia Sotomayor's dissent. Part III proposes
that the firing squad is the most viable “known and available alternative” that meets the delineations, however meager,
outlined by the Court. Indeed, the firing squad is the only current form of execution involving trained professionals, and
it delivers a swift and certain death.

Justice Sotomayor's dissent touches on sound and convincing reasons why death row inmates considering the hazards
associated with lethal injection may prefer the firing squad as an alternative method of execution. 30 This is not the first
time that an argument for the firing squad has been made in recent years. 31 But previous justifications have primarily
occurred before Glossip and within the confines of other cultural or doctrinal delineations of the Eighth Amendment. 32
Glossip's “alternative method” requirement adds yet *754 another dimension to execution method challenges and it
strengthens the seriousness and acceptability of the firing squad as an apt means of execution.

Justice Sotomayor is the first Justice to proactively and favorably compare the firing squad--or any other execution
method--to lethal injection, albeit briefly. 33 Although legal commentators and the news media have all but bypassed
Justice Sotomayor's firing squad comments, 34 her compelling analysis highlights the extent to which she questions the
lethal injection process. 35 This Article further positions the role of the firing squad in the context of the Court's latest
Eighth Amendment decision on execution methods. It also suggests a reform that may have some traction in light of
states' ongoing challenges in securing acceptable lethal injection drugs.


I. SOME WRONG TURNS IN Glossip



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Glossip follows Baze as the Court's most recent decision on execution methods. Yet the Glossip Court's analysis is
extraordinarily scant. Two primary examples of this deficiency are the way the Court examines the history of changes in
execution methods over time, and the Court's explanation of why and how Oklahoma adopted lethal injection. Equally
problematic is the Court's focus on “anti-death-penalty advocates” as the basis for states' current problems with lethal
injection 36 because the argument ignores the reasons behind the extensive litigation that led to Glossip.


*755 A. Glossip's Misuse of History

For a topic as vast, historic, and significant as how this country executes its death row inmates, the Glossip Court spends
remarkably little time explaining the past. In less than two pages, the Court reviews changes in the United States' five
execution methods over the nineteenth and twentieth centuries, from hanging to electrocution to lethal gas to the firing
squad and, finally, to lethal injection. 37 Yet at no time during this brisk review does the Court explain why states switched
their methods of execution, except to say that each new method was “the most humane” (or words along those lines)
relative to the method it replaced. 38 In addition, the Court mentions that each state's introduction of a new method
rendered that new method constitutional. 39

The complete history of execution method transitions, however, is far more extensive than the Glossip Court suggests.
That history is replete with detailed accounts at the legislative, judicial, and correctional levels that explain why each
new method failed so profoundly in its goal to be more humane than the method it replaced. 40 Hanging, lethal gas,
and electrocution were adopted and initially used with great fanfare only to be criticized and replaced after decades of
technical failures and botched executions. 41 As a result, lethal *756 injection, the latest method, is now used almost
exclusively. 42 But this record of exclusivity is no victory for lethal injection. Regardless of the outcome in Glossip,
lethal injection's dominance demonstrates only that other methods have failed. States seem to have exhausted alternative
methods of execution, apart from changing the drugs and procedures of lethal injection itself.

The Court's brevity is not confined to recounting this country's changes in execution methods. For example, the Court
explains that lethal injection was first enacted following a nine-year hiatus in capital punishment in the United States,
spanning from 1967 to 1976; yet, the Court never mentions why the hiatus occurred. 43 According to historical accounts,
however, starting in the 1960s, a number of legal organizations and advocates expressed concern about the degree of
discretion that existed in the application of the death penalty, particularly among sentencing juries, and the resulting risk
of arbitrariness, such as race discrimination. 44 Such groups made a strategic decision to halt all executions by way of
strong and concerted legal challenges in all cases in which an execution seemed likely. The groups believed that a country
that was execution-free could finally start to understand why the death penalty was no longer necessary. 45 As Michael
Meltsner explains, “[i]t is not easy to trace the evolution of this change in policy, for it came about only after a number
of complex, interrelated, tactical and moral considerations coalesced, but of its importance there can be no doubt.” 46

This execution ban, which started in 1967, thereby prompted an unofficial “de facto” moratorium on the application
of the death penalty. 47 Such a hiatus would be perpetuated some years further *757 by the Court's 1972 decision in
Furman v. Georgia. 48 In Furman and related cases, the Court held 5-4 that the imposition of the death penalty in the
cases before it violated the Eighth and Fourteenth Amendments. 49 Because Furman comprised a per curiam decision of
just one paragraph along with nine separate opinions, 50 however, the case had no singular message. 51 That said, the
opinions indicated that most of the Justices were troubled by the degree of discretion given to sentencing juries along
with the resulting arbitrariness in death-sentencing decisions. 52 While Furman was aimed toward striking down the
procedures in Georgia and Texas, it ended up having a broad effect, essentially invalidating nearly every death sentencing
system of every jurisdiction in the country. 53


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1. The Impact of Gregg v. Georgia


This stalemate, however, would quickly change four years later. In 1976, the Court decided Gregg v. Georgia, 54 holding
that the death penalty is not per se a cruel and unusual punishment and that the guided discretion approach that many
states had since adopted satisfied Eighth Amendment requirements. 55 Within seven months of the Court's decision,
Utah executed Gary Gilmore by firing squad, 56 *758 thereby revitalizing this country's death penalty and ending a
moratorium that had lasted nearly ten years. 57

With Gregg the United States immediately had to grapple with the problem of how states were going to execute their death
row inmates. Such a quandary appeared to spur an interest in a new execution technique for three primary reasons. First,
states had encountered highly publicized problems and botched executions with the prior procedures, most particularly
electrocution and lethal gas, and there were concerns about going back to them. Second, a public interest developed in
the potential for having executions televised, in which case states would need a method that could appear humane and
palatable to a viewing audience. Third, legislatures were troubled by the cost of refurbishing the electric chair and gas
chamber and searched for the possibility of a cheaper method. Thus, lethal injection seemed to be the solution to all three
issues: the method was billed as humane and botch-free, and the drugs recommended for an injection were far cheaper
than electrocution or lethal gas. 58 While some form of injecting a deadly toxin into inmates had been considered as early
as 1888 in this country and then decades later in Great Britain, Gregg fueled a rising interest in finally applying such an
injection method. 59 In 1977, one year after Gregg, Oklahoma both created and adopted the three-drug protocol that
would later dominate all lethal injection executions. 60

The Glossip Court never explains why the United States turned to a new method of execution in 1976 over what had
been the most popular method pre-Gregg--electrocution. 61 The Glossip Court mentions that Oklahoma “eventually
settled” on the types of drugs that would be included in the protocol: 62 sodium thiopental, pancuronium bromide, and
potassium chloride. 63 But the Court does not explain the process behind the method's adoption, which was exceptionally
quick and slapdash: in late 1976, Jay Chapman, the Oklahoma Medical Examiner, and Bill Wiseman, an Oklahoma
legislator, devised this three-drug method along with a draft of the *759 lethal injection statute itself within the course of
a day. 64 By March 1977 the Oklahoma legislature intensely debated the wisdom of adopting Chapman's and Wiseman's
lethal injection method and statute. According to reported accounts, the legislators believed that even if they approved
the Chapman-Wiseman method, it would be replaced by newer and more appropriate drugs before it was ever actually
used on any inmates. 65 Little did anyone know that after Oklahoma adopted the Chapman-Wiseman method in 1977,
the same three-drug protocol would survive into the twenty-first century and dominate the execution process. In 2010,
states started to change the Chapman-Wiseman protocol only because they could no longer procure the first of the three
drugs. 66 The Glossip Court wholly ignores this critical backdrop, however, as it matter-of-factly describes Oklahoma's
creation and adoption of lethal injection in just one paragraph. 67

The Glossip Court also states that the Court “has never invalidated a State's chosen procedure for carrying out a sentence
of death as the infliction of cruel and unusual punishment.” 68 That characterization is technically correct. But it is only
part of a much longer story that the Court does not tell. Until 2008, in Baze v. Rees, 69 the Court had never reviewed
evidence concerning whether any method of execution violates the Eighth Amendment's Cruel and Unusual Punishments
Clause. 70 Legislative changes in execution methods during the nineteenth and twentieth centuries, however, demonstrate
that states typically change their method of execution when they perceive that their current method is vulnerable to a
constitutional challenge. 71 Indeed, in Bryan v. Moore, 72 the Court granted certiorari to review arguments concerning
whether electrocution, as carried out in Florida, violated the Eighth Amendment at a time when Florida used only


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electrocution and no other *760 method. 73 The Court dismissed this grant as improvidently granted, however, because
the Florida legislature subsequently enacted a statute that would allow an inmate to choose lethal injection as an
alternative execution method. 74 The legislature's decision thereby enabled petitioners to forego using electrocution
entirely.

California's employment of lethal gas further illustrates the complexities of this type of maneuver. In 1996, the United
States District Court for the Northern District of California held, in Fierro v. Gomez, 75 that execution by lethal
gas violated the Eighth Amendment even though the plaintiffs, San Quentin death row inmates, had the option of
choosing lethal injection. 76 At that time, if inmates waived their right to choose the method by which they would be
executed, the statute specified they would be executed by lethal gas. 77 The Ninth Circuit Court of Appeals unanimously
upheld the Fierro district court's decision, concluding that California's statute authorizing execution by lethal gas is
unconstitutionally cruel and unusual. 78

The Ninth Circuit's determination in Fierro was groundbreaking, marking the first time in this country's history that a
federal appeals court had held any method of execution unconstitutional. 79 Soon thereafter, the Court granted certiorari
to review the merits of the Ninth Circuit's holding, 80 but the California legislature rapidly moved to preclude the
possibility that the Court could strike down its execution method statute. Like the Florida legislature's actions preceding
Bryan v. Moore, 81 the California legislature changed its statute so that those inmates who failed to choose between lethal
gas or lethal injection would now be executed by lethal injection. 82 As a result, the Court vacated the Ninth Circuit's
holding that lethal gas was unconstitutional in light of the California legislature's subsequent amendment of the state's
death penalty statute; the Court *761 also remanded the case for reconsideration in light of the legislature's decision to
change the statute and provide that lethal injection be administered unless the inmate requests lethal gas. 83 The power
of the legislature's change would be evident three years later. In Stewart v. LaGrand, 84 for example, the Court held that
the death row inmate waived his claim that execution by lethal gas violated the Eighth Amendment because the inmate
chose to be executed by lethal gas rather than lethal injection. 85

2. The Firing Squad and Electrocution Cases

The Glossip Court therefore skirts any discussion involving states' efforts to avoid the constitutional scrutiny of their
execution methods. The Court also mischaracterizes prior cases that appear to constitutionally endorse the firing squad
or electrocution under the Eighth Amendment. For example, the Court concludes that it “upheld a sentence of death
by firing squad” 86 in Wilkerson v. Utah. 87 But Wilkerson was decided in 1878, nearly a century before the Court
incorporated the Eighth Amendment into the Due Process Clause of the Fourteenth Amendment. 88 Therefore the
Constitution's standard of Cruel and Unusual Punishments was not then applicable to the states. 89 Furthermore,
in Wilkerson, the Court held in dicta only that shooting is not a cruel and unusual punishment under the Eighth
Amendment. 90 The Court never reviewed evidence on the cruelty of shooting, nor did the plaintiff raise this issue.
Rather, the plaintiff protested the application of a Utah statute authorizing the death penalty for first-degree murder. The
plaintiff claimed that, because the statute did not specify the *762 method of execution, the trial court could not approve
a death sentence that the plaintiff be publicly shot. 91 Therefore the Court affirmed the lower court's determination
that the judiciary was authorized to prescribe an inmate's method of execution even though the legislature had failed
to mention a particular method. 92


The Glossip Court is also wrong to imply that the Court “rejected a challenge to the use of the electric chair” 93 in two
cases--In re Kemmler 94 and Louisiana ex rel. Francis v. Resweber. 95 Significantly, like Wilkerson, the Court decided



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Kemmler and Resweber before 1962, the year when the Court determined that the Eighth Amendment did apply to
the states. 96 In addition, neither Kemmler nor Resweber pertained to the constitutionality of electrocution per se. In
Kemmler, for example, the Court held that the Eighth Amendment did not apply to the states, and deferred to the New
York legislature's conclusion that electrocution was not a cruel and unusual punishment under the state's Electrical
Execution Act. 97 Although courts have cited Kemmler to dismiss challenges to the constitutionality of electrocution,
such reliance is incorrect. 98 Likewise, Resweber concerned the issue of whether petitioner Willie Francis should be
executed at all since the first attempt to execute him by electrocution failed. 99 Even though the Resweber Court reviewed
the facts and troublesome science of electrocution, the Court's focus was narrow and the case was decided fifteen years
before the Eighth Amendment's incorporation. 100

In sum, neither Kemmler nor Resweber involved challenges to electrocution per se, but instead raised narrower questions.
 *763 Furthermore, the Glossip Court never mentions that two states, Nebraska 101 and Georgia, 102 have both held
electrocution unconstitutional under their respective state statutes. In addition, the Court does not acknowledge that all
former electrocution states now use lethal injection as either the sole method or a choice method because of the problems
associated with electrocution. 103

This backdrop is critical for examining the Glossip Court's viability as precedent for two reasons. First, the Court
mischaracterizes the history of the constitutionality of execution methods, implying through omission or indirect
assertion that the history is unproblematic, when it has long been plagued by botched executions and gross ineptitude
on the part of legislatures, courts, and departments of corrections. 104 As a result of these problems, starting in the
nineteenth century, states continuously switched from one method of execution to the next to search for the “more” or
“most” humane method of execution as well as to avoid potential constitutional challenges to the method they sought
to replace. 105 Second, the Court's veneer of acceptance of midazolam provides fuel for the Court's requirement that
petitioners demonstrate “a known and available alternative method of execution” as a possible replacement to lethal
injection. After all, if the Court has “never invalidated” any of the prior execution methods, including the three-drug
procedure in Baze, such a track record spotlights the status quo's success. Any effort to change an accepted execution
method should require petitioners to overcome steep obstacles. Yet the brief and one-sided story that the Glossip Court
tells defies the long-documented case law and scholarship that offer a substantially different perspective. This contrast,
among others, puts Glossip on shaky ground as precedent.


*764 B. Glossip's Focus on “Anti-Death-Penalty Advocates”

The Glossip Court's distorted history raises a third concern. If this country's experiences with execution methods have
been primarily inconsequential, and the problems with lethal injection's three-drug protocol seemingly quelled by Baze,
it is unclear how the issues in Glossip evolved. The Court's answer, in a nutshell, is “anti-death-penalty advocates.” 106
After Baze had presumably fostered states' abilities to successfully carry out executions quickly and humanely--a
fictional representation in and of itself--“anti-death-penalty advocates” introduced yet another vehicle of obstruction by
“pressur[ing] pharmaceutical companies to refuse to supply the drugs used to carry out death sentences.” 107

The Court never identifies, however, who these “anti-death-penalty advocates” are. Nor does the Court explicate how
these anti-death-penalty advocates possessed such extraordinary power to create the drug shortages that dismantled the
original three-drug protocol validated in Baze. The Court also fails to explain how or why such shortages forced states
like Oklahoma to acquire inappropriate drugs, such as midazolam, when these states could have chosen other types of
drugs for their protocol. 108 While the Court focuses on the “anti-death-penalty advocate” explanation as it recounts all
the factors driving lethal injection's troubles, the Court never mentions that three of the most highly influential factors
had nothing to do with anti-death penalty advocacy.


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The first factor, for example, reveals that post-Baze efforts to reignite the execution process were problematic from
the start, even before the issues with drug shortages came about. 109 Rather than eliminating obstacles, the same sorts
of impediments that have always accompanied lethal injection executions followed Baze--namely, inexperienced or
incompetent prison personnel, and *765 vague protocols and constraints on execution witnesses. 110 A continuing wave
of troubles also followed the Baze decision concerning the selection, training, preparation, and qualifications of the lethal
injection team. The types and sources of drugs used in lethal injection executions are just a small part of the problem,
since the entire process can be riddled with disorganization and preparatory mayhem irrespective of whatever is injected
into the inmate. Lethal injection botches and ineptitude on all levels post-Baze have far exceeded the difficulties that
existed pre-Baze. 111

A second influential factor was that, at least initially, the depletion of sodium thiopental had nothing to do with the death
penalty. In 2014, a report published by the Government Accountability Office documented a variety of drug shortages
occurring throughout the country from January 2007, a year-and-a-half before Baze was decided, to June 2013. The
report included a review of the shortages associated with the chemicals used to create sodium thiopental. 112 Thus, the
start of the scarcity of sodium thiopental in the United States was wholly divorced from the so-called anti-death-penalty
“movement.” Rather, the lethal injection process was affected by a pharmaceutical fact of life: drugs can often become
unavailable, at times unpredictably. These shortages can impact citizens' health and, in the case of lethal injection, their
death.

The third, and perhaps most significant, factor concerns the District of Columbia Circuit Court's decision in Cook v.
FDA. 113 In 2013, Cook held that the Food and Drug Administration (“FDA”) must approve all drugs imported into the
country, including the drugs used in lethal injection protocols. 114 This decision extinguished efforts by departments of
corrections to purchase lethal injection drugs outside of the country because those drugs did not meet FDA standards, 115
a matter that is still the subject of dispute. For example, in May 2015, the FDA informed Nebraska that it could not
 *766 import sodium thiopental from India to use in the state's lethal injection executions even though the Nebraska
Department of Corrections had paid $54,400 for the drug. 116 In October 2015, the FDA also stopped Texas and
Arizona from importing sodium thiopental from India, and investigative reporters revealed that Harris Pharma had sold
to all three states. 117 Investigators discovered that Chris Harris, the head of Harris Pharma, had no pharmaceutical
training whatsoever, as well as a flawed record he could better hide in India, away from FDA scrutiny. 118 Once again,
departments of corrections in key death penalty states were willing to buy and illegally use a death penalty drug from a
grossly disreputable source, 119 all the while knowing that faulty drugs heighten the likelihood of a botched execution. 120
Yet Nebraska, Texas, and Arizona are still trying to get around the FDA ruling so that they can continue their executions
using Harris Pharma's drugs, despite their very low likelihood of success. 121

1. Who Are the “Anti-Death-Penalty Advocates”?

Overall, then, departments of corrections were not impacted directly by anti-death-penalty advocates when they
purchased substitute drugs for lethal injection purposes. This circumstance prompts two questions: who are the anti-
death-penalty advocates that the Court references, and what exactly did they do to the lethal injection process? One of
the great frustrations of Glossip is that the Court never fully addresses nor answers these questions. Instead, the Court
explains the troubles that these “anti-death-penalty advocates” created, even though scholars and the news media *767
documented both the continued quest by departments of corrections to seek drugs and the resulting protocol changes. 122

One reason why the Court may have evaded answering these questions is because providing an explanation would require
a detailed account of all the problems facing legislatures, courts, and departments of corrections in the time between



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Baze and the grant of certiorari to Glossip. These troubles include a host of terribly botched lethal injection executions
documented by petitioners' briefs, academics, and the media, and the highly problematic efforts by departments of
corrections to acquire the drugs necessary for execution. 123 Instead, the Court resolves this dilemma--in just a few
pages--by scapegoating the “anti-death-penalty advocates” who supposedly created the shortages and, therefore, all of
the problems with lethal injection that Baze had presumably cleared. 124

The Glossip Court first points to the “activists” who “pressured” not only the company that made sodium thiopental
(Hospira) in both the United States and Italy, but also the Italian government, in order to get both sources to stop
selling sodium thiopental in the United States. 125 Later, activists also extended such pressure to Lundbeck, the Danish
manufacturer of pentobarbital, the drug prisons used when sodium thiopental was no longer available. 126 These drug-
blocking efforts came as no surprise to those who know that almost all European countries prohibit the death penalty,
and that the European Union encourages banning the death penalty in all countries. 127 Anti-death-penalty advocacy
groups in Europe, such *768 as Reprieve, are particularly focused on eliminating the death penalty by way of stopping
lethal injection. 128 Yet these groups, as effective as they are, could not possibly have the degree of impact that the Court
presumably attributed to them. There are additional forces at play. 129

It appears the Glossip Court would include European countries and the European Union under its “anti-death-penalty
advocates” umbrella given the extent of the Court's discussion of European blocks on lethal injection drugs. 130 But
targeting European countries as disrupting the U.S. death penalty ignores the reality that each country has a right to
refuse to sell drugs created for health to the United States, where they will be injected to cause death. Even if part of
the pressure stems from a particularly influential anti-death-penalty advocacy group, such as Reprieve, these groups are
often simply informational messengers to European drug companies and pharmacies. Frequently, drug companies are
unaware of how their drugs are being used, and are disturbed and concerned when anti-death-penalty advocacy groups
inform them. 131 In this sense, the Court's use of the term “pressure” is misleading: providing information is not pressure.

Of course a company's association with the death penalty also can have financially detrimental effects that can deter
its willingness to sell lethal injection drugs to departments of corrections. Consumers may not want to purchase drugs
that are linked to executions. 132 Regardless, even if the Court believed that European countries constituted some of the
“anti-death-penalty advocates” the Court derides, Cook v. FDA 133 would still require the FDA to ban importation of
these drugs from all countries, not just Europe.

 *769 Apart from Italy, England, and Denmark, what other sources might be included among the “anti-death-penalty
advocates” the Court mentions? Ironically, the FDA has most likely contributed the most to the lethal injection drug
shortages by way of Cook; yet, the Court would hardly include the FDA as an “anti-death-penalty advocacy” group
nor as an institution that has been pressured by such groups. The FDA operates by its own standards, irrespective of
what is happening to the death penalty.

2. The Role of Medical Professionals

The same reasoning that applies to the FDA could also apply to other groups that may not be traditionally considered
anti-death-penalty advocates nor as organizations necessarily influenced by them. There is a broad net of potential
sources. That net could encompass a range of medical professionals such as physicians, nurses, and pharmacists, because
all three groups have been involved in lethal injection executions, either directly or indirectly. 134 Doctors and other
medical professionals have long participated in carrying out all execution methods, most particularly lethal injection. 135
Doctors not only created the original three-drug protocol, but also advised legislatures, courts and prisons about the
types and amounts of lethal injection drugs that should be used. 136 In a number of executions, doctors have directly


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engaged in the actual implementation of the injection procedure. 137 During Oklahoma's horribly botched lethal injection
of Clayton Lockett in 2014, for *770 example 138 --the execution that prompted Glossip 139 and now a blistering grand
jury report 140 -- records show that both a doctor and an Emergency Medical Technician tried to inject Lockett with
drugs under circumstances involving gross incompetence. 141

The role of such medical professionals has long been controversial, however, and medical organizations and drug
manufacturers have increasingly discouraged such participation on the basis that doctors and drugs should promote
health rather than death. 142 The International Academy of Compounding Pharmacists has similarly discouraged its
members from providing lethal injection drugs, the group's first official stance on the issue. 143 The most sweeping
demonstration of this posture, however, is Pfizer Inc.'s May 2016 announcement that it had enforced restrictions on
where its drugs *771 are distributed so that they could not be used in lethal injection executions. 144 Thus, the decision
by Pfizer--one of the largest pharmaceutical manufacturers in the world--along with similar types of controls adopted by
over twenty other drug companies, substantially hinders departments of corrections' efforts to get drugs. 145 While such
companies provide “either moral or business reasons” for their decisions, 146 it would be a gross mischaracterization to
say that they were buckling to pressure only by anti-death-penalty advocacy groups. According to Pfizer, for example,
“medical principles and business concerns have guided their policies,” not anti-death-penalty campaigns or Europe's
block on exporting drugs. 147 Likewise, pressure from shareholders concerned about harm to the company's reputation
for health has shown far more influence. 148 In essence, then, medical professionals and pharmaceutical companies do
not need anti-death-penalty advocacy groups to tell them to avoid involvement in the death penalty process--they already
know.

“Anti-death-penalty advocates” could also include the public itself. After all, drug companies seem to fear negative
public perception above all else. 149 If the public links a company and its drugs to the death penalty process, the
financial repercussions could be severe for the company 150 even in the United States, where a majority of individuals
still support the death penalty. 151 Because a company's association with the death penalty may not be a good business
model, a substantial number of states have enacted secrecy provisions that shield the identity of medical professionals,
pharmaceutical companies, and pharmacies involved with the execution *772 process. 152 Yet Pfizer's decision may
make it so that all these entities, especially compounding pharmacies, want to buck contributing to the process altogether,
irrespective of the guarantee of secrecy. Regardless, states continue to have problems finding drug sources, 153 a
circumstance suggesting that anonymity is not enough to keep these groups involved in the lethal injection process.

If members of the public and selected medical and pharmacy groups can be considered anti-death-penalty advocates,
at some point the Court may have to face a growing reality: “anti-death-penalty advocates” may simply represent the
general American public. With such a development, the Court may, yet again, be accused of being out of touch with
mainstream America. 154 Because departments of corrections could be boxed into an execution methods corner if lethal
injection becomes unworkable, they may ultimately need a drug-free alternative method of execution to help them escape.
Finding a method that is also “a known and available alternative” may simply be a matter of states reverting to a more
simplistic past execution method.


II. THE “KNOWN AND AVAILABLE ALTERNATIVE” STANDARD

The Glossip Court affirmed Oklahoma's use of midazolam in part because “the petitioners failed to identify a known
and available alternative method of execution that entails a lesser risk of pain, a requirement of all Eighth Amendment
method-of-execution claims.” 155 While no court set forth such a standard prior to Baze--and Justice Sotomayor



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provided a detailed critique of such a requirement 156 --the Glossip Court nonetheless accepted this dictate for evaluating
the constitutionality of any execution method. This Article therefore abides by the alternative methods mandate for
analysis purposes although it does not agree that it should be part of the Eighth Amendment doctrine for evaluating
execution methods. 157


*773 A. The Standard's Meaning

A key question in assessing any execution method concerns what the “known and available” standard means in practical
terms. Glossip turns to Baze for guidance. 158 According to Baze, petitioners “cannot successfully challenge a State's
method of execution merely by showing a slightly or marginally safer alternative.” 159 Rather, they must put forth an
alternative method that is “feasible, readily implemented, and in fact significantly reduce[s] a substantial risk of severe
pain.” 160 Thus, in Baze and Glossip, the Court proposed a two-part test that required petitioners to “establish both
that [a state's] lethal injection protocol creates a demonstrated risk of severe pain and that the risk is substantial when
compared to known and available alternatives.” 161 Although it is a two-part test, the Court's language suggests that the
first part, “risk of severe pain,” depends on the second part because the risk is “compared to the known and available
alternatives.” 162 Because the Court made clear that the petitioners in Baze and Glossip never met either part of the test,
there is no precedent for what kind of alternative the Court would find acceptable. Therefore, an alternative method
argument relies on the Court's language and little more.

The other Justices do not add their own personal interpretation of this standard apart from Justice Sotomayor's
dissent. Justice Stephen Breyer's thorough overview of the problems associated with the death penalty generally bypasses
anything that the majority has to say about the “known and available” standard. 163 Of course, Justice Breyer does sign
on to Justice Sotomayor's dissent and perhaps did not feel the need to discuss the matter in his own dissent. 164 Justice
Antonin Scalia and Justice Clarence Thomas focus on Justice Breyer's dissent. Justice Scalia's concurrence 165 criticizes
Justice Breyer's recommendation that there be broader consideration of whether the death penalty is unconstitutional;
Justice Thomas's concurrence 166 questions the methodological challenges associated *774 with some of the studies
Justice Breyer cites. As media commentators noted, Justice Breyer's lengthy dissent dominated Glossip and the public's
discussion of the case's significance. 167


B. Justice Sotomayor's Dissent

Justice Sotomayor's dissent stands out as the primary vehicle for critiquing the “known and available alternative
standard,” by thoroughly explaining why it is unjustified for the Glossip Court to attribute this standard so substantially
to Baze. 168 First, Baze never articulated such a mandate, much less one as conditionally dependent as the Glossip Court
makes it to out to be. Otherwise, the resulting message would have “[led] to patently absurd consequences.” 169 As Justice
Sotomayor notes, “[a] method of execution that is intolerably painful--even to the point of being the chemical equivalent
of burning alive--will, the Court holds, be unconstitutional if, and only if, there is a ‘known and available alternative’
method of execution.” 170 While the Glossip Court states that Baze precluded all arguments that would suggest otherwise,
Justice Sotomayor stresses that “Baze held no such thing.” 171 For example, the Glossip Court refers only to the Baze
plurality opinion to support its version of the “known and available alternative” requirement; yet none of the Baze
concurrences, which were needed to back the Baze Court's judgment, pronounced a comparable perspective. 172 Even
the Baze plurality never stated “that all challenges” to a state's execution method must be subject to such a “comparative-
risk” assessment. 173 As Justice Sotomayor states, “[r]ecognizing the relevance of available alternatives is not at all




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the same as concluding that their absence precludes a claimant from showing that a chosen method carries objectively
intolerable risks.” 174

Justice Sotomayor nonetheless contributes an analysis of what “a known and available alternative method of execution”
could be, *775 even though she doesn't agree with the requirement. As such, her approach provides potential guidance
for future courts and litigators who seemingly have no choice but to operate within the confines of Glossip. What
Justice Sotomayor proposes could turn Glossip on its head: condemned inmates might reject lethal injection and “suggest
the firing squad as an alternative.” 175 She hones this point by considering the evidence that would be most pertinent
to inmates making this suggestion. For example, “the firing squad is significantly more reliable than other methods,
including lethal injection” and “there is some reason to think that it is relatively quick and painless.” 176 While the firing
squad “could be seen as a devolution to a more primitive era,” 177 and “the blood and violence that comes with it” a
step in that direction, 178 those characterizations do not make the firing squad “unconstitutional.” 179 That said, the
method's “visible brutality” could potentially prompt Eighth Amendment arguments. 180

Justice Sotomayor's final assessments of the firing squad are the most compelling because they consider the calculation
of the method's cruelty versus visible violence through the eyes of a condemned inmate. As Justice Sotomayor explains,
an inmate may view the “visible yet relatively painless violence” associated with the firing squad as “vastly preferable
to an excruciatingly painful death hidden behind a veneer of medication.” 181 With that statement, Justice Sotomayor
rightly acknowledges that lethal injection may be even more gruesome than the firing squad if only we were allowed to
see behind lethal injection's “curtain.” 182 A substantial literature and case law suggest that she is correct. 183


C. The Court's Misinterpretation of Justice Sotomayor

Justice Sotomayor's dissent is detailed and comprehensive, covering a number of different topics and arguments. Yet
it is intriguing that the Glossip majority focuses on her commentary about the firing squad, particularly given the
commentary's brevity and *776 hypothetical posture. Indeed, the Glossip majority completely mischaracterizes what
Justice Sotomayor says about the firing squad, and also inaccurately attributes her comments to other methods of
execution. According to the Court, for example, Justice Sotomayor implies that any state that uses any of the four
methods of execution existing prior to lethal injection would violate the Eighth Amendment. 184 This reasoning holds,
says the majority, even though Justice Sotomayor concedes that “‘there is some reason to think that [the firing squad]
is relatively quick and painless.”’ 185 While Justice Sotomayor mentions neither electrocution nor lethal gas, the Court
nonetheless incorporates these other methods in its analysis of her statements. Indeed, the Court interprets Justice
Sotomayor's arguments as implying that “it would be unconstitutional to use a method that ‘could be seen as a devolution
to a more primitive era.”’ 186 Yet Justice Sotomayor says no such thing. Using this misguided approach, the Court
suggests that Justice Sotomayor boxes in the choices of execution methods: past execution methods are unacceptable
because they are “primitive,” while present methods are unacceptable because there is no viable drug. 187 The end result,
in the Court's view, is an argument siding with eliminating the death penalty. 188

Justice Sotomayor, however, never makes the argument the majority attributes to her but argues just the opposite. She
explicitly states that the brutality of a firing squad execution does not render the method unconstitutional and that it may
be far preferable to the torment of lethal injection drugs. 189 In addition, she does not argue against the death penalty
in general and notably did not join Justice Breyer's anti-death penalty dissent. Instead, Justice Sotomayor provides
guidance for the most humane way to implement the death penalty within the context of Glossip. While Justice Sotomayor
suggests that the firing squad may also be viewed as a “devolution” and may raise Eighth Amendment issues, 190 her
concerns about the method are warranted. For example, neither she nor any other court has provided the kind of detailed



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analysis of the science or strategy behind the firing squad that would assuage *777 any and all Eighth Amendment
questions. 191 Rather, Justice Sotomayor explains why the firing squad may be a viable alternative method of execution,
thereby pointing in a direction that makes sense for legislatures and courts to consider.


III. THE FIRING SQUAD ALTERNATIVE

This Part suggests that the firing squad could potentially meet Glossip's “alternative method” requirements of being
“known,” “available,” and “entail[[ing] a lesser risk of pain.” 192 For example, the firing squad has a long history and
world-wide application (“known”); 193 it is pervasive in many dimensions of our society ranging from law enforcement to
self-protection (“available”); 194 and there is evidence suggesting it is the quickest, least painful, and most reliable method
that currently exists (“a lesser risk of pain”). 195 As Chief Judge Alex Kozinski's dissent in Wood v. Ryan 196 suggests,
the firing squad also satisfies an array of practical and constitutional concerns that counter the long-held problems
associated with lethal injection procedures. While Judge Kozinski's observations were made nearly a year before Glossip
was decided, 197 they firmly fit within the Glossip “alternative method” standard:

        The firing squad strikes me as the most promising [method]. Eight or ten large-caliber rifle bullets fired
        at close range can inflict massive damage, causing instant death every time. There are plenty of people
        employed by the state who can pull the trigger and have the training to aim true. The weapons and
        ammunition are bought by the state in massive quantities for law enforcement purposes, so it would be
        impossible to interdict the supply. And nobody can argue that the weapons are put to a purpose for which
        they are not intended: firearms have no purpose other than destroying their targets. 198




*778 Chief Judge Kozinski acknowledges that “firing squads can be messy” because “we are shedding human
blood.” 199 Regardless, lethal injection can also be “messy” and bloody in ways that medical experts, lawyers, and
scholars have increasingly documented despite departments of corrections' efforts to shield the entire process in
secrecy. 200 As the following sections note, observers of modern firing squad executions do not describe “mess,” “visible
brutality,” or “blood,” but rather a process that may be far more “sterile” in perception and procedure than lethal
injection.


A. Firing Squad As A “Known” Method

The first documented firing squad execution occurred in Virginia in 1608. 201 Prior to 1789, there were thirty firing
squad executions recorded, most in Louisiana and California. 202 Along with hanging, the firing squad is this country's
oldest method of execution. While the military has conducted a substantial number of firing squad executions during
our nation's history, 203 this Article focuses on civilian executions taking place in the United States. In total, American
firing squads have executed 144 inmates. 204


*779 Currently two states permit execution by firing squad: Oklahoma 205 and Utah. 206 In both states lethal injection
is the predominant method and the firing squad is only an alternative. 207 In Oklahoma, the firing squad is an alternative
only if a death sentence cannot be carried out by one of three other methods of execution, in descending order of priority:
lethal injection, nitrogen hypoxia, and then electrocution. 208 In 2015, Oklahoma *780 adopted nitrogen gas, 209 a
much criticized and risky method, 210 thereby making it even less likely that the state would use the firing squad unless
it changed its execution methods statute. Utah, on the other hand, authorizes the firing squad only if the state is not able


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to obtain lethal injection drugs or lethal injection is declared unconstitutional. 211 The legislature has not considered
any other execution method.


For nearly three decades (from 1982-2009), Idaho also allowed the firing squad to be an alternative to lethal injection, 212
but only when lethal injection was “impractical.” 213 After Baze v. Rees upheld the constitutionality of Kentucky's lethal
injection protocol, 214 however, Idaho decided that the firing squad option was no longer necessary. 215 Besides, Idaho
had never used the method. 216 In contrast, in 2015, Wyoming came close to adopting the firing squad as an alternative
form of execution 217 but the bill failed. 218 Wyoming's *781 bill was unusual in that the inmate would have been
anesthetized and rendered unconscious before being shot, 219 a requirement that appeared to resemble some aspects of
lethal injection.

Even states' failed attempts to adopt the firing squad, however, have garnered publicity for the method and a national
spotlight for its potential viability, especially given the problems with lethal injection. 220 For example, as Austin Sarat
has documented, from 1910-2010, lethal injection had the highest botch rate of all execution methods (7.12%). 221
Another study of executions from 1976 to 2001 failed to detect any botched firing squad executions, even though
other methods, including lethal injection, were consistently problematic. 222 While there have been only three firing
squad executions since 1976, when Gregg v. Georgia 223 once again enabled executions, 224 all three executions went as
predicted. 225


B. Utah's Firing Squad Procedure

The following overview of Utah's firing squad procedures, the most widely used and documented in this country, provides
some context for the method's predictability. That said, officials do not release all details about the execution process.
Therefore, this Article's account of Utah's firing squad procedure is based on a limited number of available sources, some
of them official (Utah statutes and provisions), as well as books, articles, and newspaper accounts that describe past
executions. Because a firing squad execution has not been conducted in Utah since 2010, some procedures and details
may change if another such execution takes place. 226


In Utah, all inmates sentenced after May 3, 2004, are executed by lethal injection, 227 with three court-determined
exceptions: (1) “a defendant has a right to be executed by a firing squad;” 228 (2) lethal *782 injection is found to be
either “unconstitutional on its face” 229 or “unconstitutional as applied;” 230 or (3) “the state is unable to lawfully obtain
the substance or substances necessary” to perform a lethal injection execution thirty or more days prior to the death
warrant. 231 According to statute, an execution will occur at “a secure correctional facility” and at a time set by the
department. 232 Currently, the Utah Department of Corrections conducts executions at Utah State Prison in Draper,
Utah. 233 The department's executive director or a “designee” chooses the five peace officers who comprise the firing
squad. 234

The Utah Department of Corrections provides details on who shall witness an inmate's execution, such as family
members. 235 Members of the news media are permitted to be present, 236 although the director is “responsible for
selecting” who they will be. 237 The regulations also make clear that “[i]f extraordinary circumstances develop” 238 or
other conditions threaten “prison security, personal safety,” the department may heighten restrictions or limitations on
media coverage during the procedure. 239




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The last firing squad execution at Utah State Prison--that of Ronnie Lee Gardner in 2010--took place in the same room
(chamber) created for lethal injection executions; therefore, the room contains both a lethal injection gurney and a firing
squad chair for *783 the inmate to sit in depending on which method is selected. 240 Published articles, 241 Utah State
Prison materials, 242 and eyewitness accounts of the last (2010) firing squad execution, 243 together describe the following
set-up. The inmate, whose head is covered by a black hood, sits strapped to the firing squad chair, which is set against one
wall surrounded by sandbags. 244 The sandbags prevent the bullets from ricocheting off the walls and throughout the
room. 245 About twenty or twenty-five feet across from the inmate is the opposite wall with two slit-like openings. 246
The anonymous firing squad members stand behind this wall and put their high- *784 powered guns through the
openings. 247 The observation areas for the witnesses are on the other two sides of the room. 248 A doctor then places
a round white target on the inmate's chest. 249 There is also a pan available that catches any blood that the inmate may
shed. 250 After the firing squad team leader provides a countdown, each member of the squad fires. 251 According to
Utah Representative Paul Ray, “[s]hooters aim for the chest rather than the head because it's a bigger target and usually
allows for a faster death.” 252 Regulations state that a physician certifies the inmate's death. 253

Early accounts of firing squad executions noted that the squad was comprised of five volunteer marksmen, yet only
four would receive rifles with live rounds. A fifth rifle would contain a blank so that no single member of the squad
would experience personal guilt for the killing. 254 The Utah statute and regulations do not state that this procedure
is still followed and recent eyewitness accounts do not mention this tradition. Yet the Utah State Prison's Execution
Procedures specify that one of the “five law enforcers” will have a rifle containing a blank round and that the Department
of Corrections “pre-select[s]” the executioners who “must be law-enforcement certified” in the state. 255

In 2015, a federal court judge denied an inmate's Eighth Amendment challenge to the constitutionality of Utah's firing
squad without reviewing evidence about it. 256 Regardless of the merits of this particular challenge, it is regrettable that
more is not known about the effects of shooting on the human body. That said, what is available suggests that the method
appears substantially more humane and reliable than this country's other methods.


*785 C. Evidence of Pain or Problems

It is unclear whether a correctly-performed shooting is physically painful. 257 The Royal Commission on Capital
Punishment, 258 for example, considered the firing squad an inadequate method of execution, concluding in one sentence
that “it needs a multiplicity of executioners and it does not possess even the first requisite of an efficient method,
the certainty of causing immediate death.” 259 However, the Royal Commission, which was published in 1953, never
substantiated this determination; it also conflicts with evidence that the firing squad is far more certain and humane that
other methods. 260 In addition, when given a choice, inmates have selected shooting over hanging, a pattern inconsistent
with the Royal Commission's recommendation. 261

More solid evidence suggests that a competently performed shooting may lead to nearly instant death. In 1938, in one
unique case of human “experimentation,” a Utah inmate condemned to death for murder allowed doctors to conduct an
electrocardiograph (ECG) tracing during his execution. 262 The doctors attached *786 the ECG wires to the inmate's
wrists and placed a small target over his heart, which was beating at nearly three times the normal rate. 263 After the
bullets hit the target, the inmate's heartbeat stopped 15.6 seconds later, 264 yet he was not declared dead until two-and-
a-half minutes after the shooting. 265 Likewise, Gary Gilmore, who was executed in 1977, “quivered” after four bullets
entered his heart; he was pronounced dead two minutes later. 266



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In one of the most medically thorough examinations of execution methods, British scientist Harold Hillman concluded
that the firing squad had among the lowest levels of potential pain. 267 According to Hillman, “[p]ersons hit by bullets
feel as if they have been punched--pain comes later if the victim survives long enough to feel it.” 268 He graded shooting
as having either “little” to “moderate” pain 269 in contrast to hanging, electrocution, lethal gas, or even beheading, all of
which he classified as causing “severe” pain. 270 Hillman acknowledged the Royal Commission's brief dismissal of the
firing squad as a viable execution method; but he also noted that “[t]hose giving evidence to the Commission frequently
emphasized their belief that any method of execution that they recommended should be rapid, clean, and dignified.” 271
The firing squad, on the other hand, can be considered “messy.” 272

There are experts, however, who would think lethal injection is far messier. Jonathan Groner, a pediatric and trauma
surgeon, has, for over a decade, examined lethal injection cases and frequently testified in federal and state courts about
the method's physical brutality. 273 He has also handled gunshot wound cases. 274 He contends that death by firing
squad “‘probably happens within *787 seconds.”’ 275 While “‘[t]here is no way to measure the pain . . . there's anecdotal
evidence that ‘it is less painful.”’ 276


An incompetently-performed shooting may well cause acute pain, 277 however rare such instances may be. Of the 144
civilian firing squad executions that have been recorded, 278 only two--the executions of Wallace Wilkerson and Eliseo
Mares-- had any reported problems. 279 Wilkerson's 1877 execution departed from the normal procedure in ways that
would not occur today. Not only were there reports that he may have been intoxicated, 280 but he refused to be tied to
a chair or blindfolded and thus displaced the paper target pinned to his jacket when he flinched. 281 Three bullets hit
the paper target, which had shifted to an inch above his heart, while a fourth bullet hit his left arm above his heart. 282
Reports estimate that Wilkerson took between fifteen and twenty minutes to die; officials considered having executioners
shoot him again but he passed away before they made the decision. 283 Mares's 1951 execution also went awry; 284 all
four executioners shot bullets into the wrong side of Mares's chest, apparently intentionally, and he bled to death. 285

Again, such issues would not exist today; the firing squad is far more transparent than other execution methods and such
signs of intentional misses would be clearer. Expert markspersons, situated so closely to the inmate, would be firmly
secured and would not miss such a bold target on an inmate's heart unless the miss was deliberate.


*788 D. Blood Atonement and Image

Since 1976, there have been only three firing squad executions, all in Utah: Gary Gilmore in 1977, John Albert Taylor
in 1996, and Ronnie Lee Gardner in 2010. 286 According to the Utah Department of Corrections, the current (2016)
Execution Policy is “under review,” and the Department “anticipate[s] being able to put a public version of it on the
Department's Web site in the near future.” 287 Discussion regarding the state's firing squad procedure and the public
reaction to it is thus both limited and dated. The history of the firing squad, however, can provide some perspective for
how the method may be viewed today.

A number of scholars have traced the use of the firing squad in Utah to the Mormon religion's concept of “blood
atonement.” 288 Blood atonement is the historical Mormon idea that Jesus Christ spilled his blood for Christians' sins; in
turn, some sinners are so heinous that, like Christ, they must shed their own blood to achieve a degree of forgiveness “in
the next life.” 289 Utah is unique in both its distinct Mormon heritage and its use of an execution method that actually
“spills” blood. 290



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 *789 While the Mormon Church officially rejected the doctrine of blood atonement in 1978, 291 media fingers still point
to the doctrine at the time of firing squad executions. A prime example is John Albert Taylor's highly publicized choice
in 1996 to be executed by firing squad under what was then Utah's statute allowing inmates to choose between lethal
injection and the firing squad. 292 While Taylor's motivations for choosing the firing squad were unclear, the media
interpreted them as an effort to embarrass the state and its connection to archaic Mormon beliefs. 293 Taylor's choice also
spotlighted some of the challenges in administering the firing squad: the building of a viable execution chamber; devising
a means to catch the inmate's blood in a safe and hygienic manner; countering the method's perceived brutality. 294 For
example, the Utah State Corrections Department spokesperson at the time of Taylor's execution stated that the firing
squad was no “more gruesome than the more modern techniques we use.” 295 Yet he conceded that the method had an
image problem: “[t]he public views lethal injections as less violent and more professional.” 296 Even in 1996, however,
studies showed that the firing squad causes death faster than lethal injection. 297

Regardless of any perceived link to blood atonement, opposition to the firing squad as an execution method seems to be
based mainly on its image rather than on the procedure's humaneness. Utah used the firing squad as the only method of
execution for just two years. 298 In 1983, Utah joined other states by allowing the condemned inmate a choice between
two methods. In Utah, the choice was either the firing squad or lethal injection, with lethal injection *790 as the fallback
if the inmate did not choose. 299 Controversy over the firing squad's purported “barbarity,” however, prompted the Utah
legislature to drop it in 2004 in favor of lethal injection. 300 Yet, little more than a decade later, the state brought the firing
squad back again (in 2015) as a substitute execution method when certain conditions were met. 301 Thus, practicality
trumped perceived barbarity in light of the state's concern that it may not be able to access lethal injection drugs.

In the context of execution methods, such exceptions to the norm can be enlightening. Since 1900, for example, all firing
squad executions have taken place in Utah except for one, which occurred in Nevada. 302 For eight years--between 1912
and 1920--Nevada allowed inmates to choose between firing squad and hanging as an alternative. 303 During that period,
only one defendant-- Andrija Mircovich in 1912--chose the firing squad. 304 Because several guards balked at carrying
out a sentence they thought resembled cold-blooded murder, marksmen from all over the world wrote to Nevada's
warden to volunteer their efforts. 305 The warden tried to convince Mircovich to consent to hanging, yet he refused.
Mircovich was finally killed by a 1000-pound execution machine that fired three mounted rifles upon the cutting of three
strings, only two of which fired the weapons with real bullets. 306 Thus, the *791 three “executioners” never even had to
see their victim. 307 Although the machine performed successfully, it was never used again. 308 In 1921, Nevada became
the first state to enact lethal gas 309 in an effort to provide a more humane method of execution. 310 Ironically lethal gas
would become the most inhumane method of execution that any state has adopted. 311


E. A Balanced View

Of all the execution methods in this country, perceptions and application of the firing squad are among the most
contradictory. On the one hand, there is substantial evidence to suggest that the firing squad is the most humane method
of execution. In Justice Sotomayor's words, it is “more reliable” as well as “relatively quick and painless.” 312 For
example, there is a consensus that Gary Gilmore's 1977 execution was swift, dignified, and consistent with protocol. 313
The same can be said of the execution of Albert Lee Taylor nearly twenty years later. According to a corrections official
who observed Taylor's execution, Utah's firing squad procedure “was carried out in as dignified a manner as [he had]
ever witnessed.” 314 In addition, a Salt Lake Tribune reporter's description of the 2010 execution of Ronnie Lee Gardner



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found the scene more pristine and removed than he might have predicted. “Firing four bullets into a man's chest is, by
definition, violent. If it can also be clinical and sterile, then that also happened in this execution.” 315 This same reporter
never saw blood, which seemed to pool instead under Gardner's shirt. While the reporter could not tell what Gardner
was feeling or if he experienced pain, in his view this was not a “messy” execution. 316


 *792 Of course, Judge Kozinski's “messy” 317 reference goes beyond simply the spilling of blood. Rather, Judge
Kozinski hones the point that we should also have a method that treats the firing squad as a true punishment, rather than
a medical illusion: “[i]f we, as a society, cannot stomach the splatter from an execution carried out by firing squad, then
we shouldn't be carrying out executions at all.” 318 Together with the evidence of the firing squad's greater humaneness
and sterility, this view balances Justice Sotomayor's concern that the firing squad “could be seen as a devolution to a
more primitive era,” 319 or a mark of “visible brutality” prompting Eighth Amendment arguments. 320

Firing squad executions occur rarely. Some of the most accessible information derives from eyewitness accounts and
historical anecdotes. That said, the consensus of opinion concerning firing squads comports with Justice Sotomayor's
argument that they are swift and relatively pain free. While “image” may be a factor discouraging the use of firing squads,
one can question lethal injection's image as well, at which point lethal injection's pretense of medical veneer can seem
far more “primitive” than a pistol.


IV. CONCLUSION

Glossip v. Gross 321 is the second time in seven years that the Supreme Court has had to step in to validate a state's
lethal injection procedure. One of Glossip's more controversial mandates, however, is the Court's two-part test that
requires petitioners to “establish both that [a state's] lethal injection protocol creates a demonstrated risk of severe pain
and that the risk is substantial when compared to known and available alternatives.” 322 As for the test's first part,
there is a substantial literature contending that lethal injection protocols, of various sorts and combinations, “create[ ] a
demonstrated risk of severe pain,” 323 and Oklahoma's protocol is *793 no exception. 324 This Article focuses on the
second part of the test concerning “a known and available alternative.” The discussion suggests that the firing squad,
when compared to lethal injection, is the clear winner, as measured by speed, certainty, and humaneness. Although the
firing squad appears saddled with a distinct image problem, respected jurists and public opinion are increasingly coming
to its reputational rescue while also pointing to the disastrous experiment that lethal injection has become.



Footnotes
a1     Arthur A. McGivney Professor of Law, Founding Director, Neuroscience and Law Center, Fordham University School of
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       Article's interpretations or conclusions. I take responsibility for any of this Article's mistakes or misjudgments.
1      Glossip v. Gross, 135 S. Ct. 2726, 2796 (2015) (Sotomayor, J., dissenting).




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2     Id. at 2797.
3     Id. at 2796. Justice Samuel Alito announced the judgment of the Court and delivered an opinion in which Chief Justice John
      Roberts and Justices Antonin Scalia, Anthony Kennedy, and Clarence Thomas joined. Id. at 2730-46. Justice Scalia filed a
      concurring opinion, which Justice Thomas joined. Id. at 2746-50. Justice Thomas filed a concurring opinion, which Justice
      Scalia joined. Id. at 2750-55. Justice Stephen Breyer filed a dissenting opinion in which Justice Ruth Bader Ginsburg joined.
      Id. at 2755-80. Justice Sonia Sotomayor filed a dissenting opinion in which Justices Ginsburg, Breyer, and Elena Kagan
      joined. Id. at 2780-97. For an excellent discussion of the controversial complications that preceded the Court's granting of
      certiorari in Glossip, see Eric Freedman, No Execution if Four Justices Object, 43 HOFSTRA L. REV. 639 (2015) (analyzing
      the repercussions that occur in capital cases when four voting Justices are needed to grant a certiorari petition but five voting
      Justices are required to stay an execution).
4     Glossip, 135 S. Ct. at 2731 (affirming the rulings of the Oklahoma District Court and the Court of Appeals for the Tenth
      Circuit).
5     Id. at 2741 (“Based on the evidence that the parties presented to the District Court, we must affirm. Testimony from both
      sides supports the District Court's conclusion that midazolam can render a person insensate to pain.”).
6     Id. at 2731. The Eighth Amendment provides that “[e]xcessive bail shall not be required, nor excessive fines imposed, nor cruel
      and unusual punishments inflicted.” U.S. CONST. amend. VIII.
7     Glossip, 135 S. Ct. at 2731.
8     Id. (citing Baze v. Rees, 553 U.S. 35, 61 (2008) (plurality opinion)).
9     Id. For an excellent critique of the Glossip Court's use of the “clearly erroneous” standard of review, see David L. Faigman,
      The Supreme Court's Confused Empirical Jurisprudence, 15 EXPERT EVID. REP. (Bloomberg BNA), July 6, 2015, at 303.
10    See, e.g., Glossip v. State, No. D-2005-310, at 1-2 (Okla. Crim. App. Oct. 2, 2015) (order issuing stay) (noting that Oklahoma
      Governor Mary Fallin issued a stay of execution for Richard Glossip and two other inmates because the Oklahoma
      Department of Corrections received an order of potassium acetate instead of the requisite drug of potassium chloride, which
      is “contrary to the written protocol,” and the State needs “an indefinite period of time... to evaluate the events that transpired
      on September 30, 2015”).
11    Deborah W. Denno, Symposium: “Groundhog Day” Indeed, SCOTUSBLOG (June 30, 2015, 2:31 PM), http://
      www.scotusblog.com/2015/06/symposium-groundhog-day-indeed/; see also infra note 167 and accompanying text (discussing
      the impact of the Glossip dissents).
12    See Lethal Injection, DEATH PENALTY INFO. CENTER, http://www.deathpenaltyinfo.org/lethal-injection (last visited
      May 4, 2016) (reviewing the ongoing developments with lethal injection, most particularly the shortage of appropriate drugs).
13    See infra notes 14-21 and accompanying text.
14    553 U.S. 35 (2008) (plurality opinion).
15    Id. at 40-63. Chief Justice John Roberts announced the judgment of the Court and delivered an opinion in which Justices
      Anthony Kennedy and Samuel Alito joined. Id. Justice Alito filed a concurring opinion. Id. at 63-71. Justice John Paul Stevens
      filed an opinion concurring in the judgment. Id. at 71-87. Justice Antonin Scalia filed an opinion concurring in the judgment,
      which Justice Clarence Thomas joined. Id. at 87-93. Justice Thomas filed an opinion concurring in the judgment, which Justice
      Scalia joined. Id. at 94-107. Justice Stephen Breyer filed an opinion concurring in the judgment. Id. at 107-13. Justice Ruth
      Bader Ginsburg filed a dissenting opinion in which Justice David Souter joined. Id. at 113-23.
16    Id. at 41.
17    Id. at 50 (internal quotation marks omitted).
18    Id. at 61.




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19    Deborah W. Denno, Lethal Injection Chaos Post-Baze, 102 GEO. L.J. 1333, 1333-34 (2014) [hereinafter Denno, Lethal
      Injection Chaos].
20    Baze, 553 U.S. 35 at 61.
21    For an analysis of the different opinions in Baze, see generally Deborah W. Denno, For Execution Methods Challenges, the
      Road to Abolition Is Paved with Paradox, in THE ROAD TO ABOLITION? THE FUTURE OF CAPITAL PUNISHMENT
      IN THE UNITED STATES 183 (Charles J. Ogletree, Jr. & Austin Sarat eds., 2009) [[hereinafter Denno, Paved with Paradox].
22    Glossip, 135 S. Ct. at 2733.
23    See Denno, Lethal Injection Chaos, supra note 19, at 1346-81.
24    See Lethal Injection, DEATH PENALTY INFO. CENTER, supra note 12 (detailing the ongoing litigation over lethal
      injection and the use of new and never-used lethal injection drugs as well as botched lethal injection litigation).
25    See generally Ty Alper, The United States Execution Drug Shortage: A Consequence of Our Values, 21 BROWN J. WORLD
      AFF. 27 (2014); Denno, Lethal Injection Chaos, supra note 19, at 1346-82; Seema K. Shah, Experimental Execution, 90 WASH.
      L. REV. 147 (2015).
26    See Glossip, 135 S. Ct. 2731 (citing to the Eighth Amendment precedent of Baze).
27    Id. at 2780-97 (Sotomayor, J., dissenting); see also Brief for Petitioners at 28-38, Glossip v. Gross, 135 S. Ct. 2726 (2015)
      (No. 14-7955) (explaining how and why the substitution of midazolam for barbiturates creates the objectively intolerable risk
      prisoners will experience excruciating pain and suffering during their executions); Brief for the Louis Stein Ctr. for Law and
      Ethics at Fordham Univ. Sch. of Law as Amicus Curiae in Support of Petitioners, Glossip v. Gross at 12-25, 135 S. Ct. 2726
      (2015) (No. 14-7955) (noting that the three-drug lethal injection protocol, developed in 1977 in Oklahoma and later adopted
      nationwide, lacked an adequate medical or scientific basis and that state prison officials have continued to pursue this same
      experimental pattern with other lethal injection drugs, including midazolam); Reply Brief for Petitioners at 4-15, Glossip v.
      Gross, 135 S. Ct. 2726 (2015) (No. 14-7955) (asserting that the lack of a scientific or medical consensus that midazolam alone
      can reliably prevent petitioners from experiencing significant pain renders it a constitutionally unacceptable anesthetic). For
      further discussion of Glossip in the context of the problems with midazolam and lethal injection drug experimentation, see
      generally Paul Litton, On the Argument that Execution Protocol Reform is Biomedical Research, 90 WASH. L. REV. Online
      87 (2015).
28    Glossip, 135 S. Ct. at 2731 (noting that petitioners could not “identify a known and available alternative method of execution
      that entails a lesser risk of pain, a requirement of all Eighth Amendment method-of-execution claims”).
29    I agree with Justice Sotomayor's criticism of the Court's stance on the “known and available alternative” requirement. See id.
      at 2792-97 (Sotomayor, J., dissenting). For a clever discussion of the contradictions arising during oral arguments in Glossip
      that bear on this alternative method requirement in the context of risks of severe pain, see Sherry F. Colb, The Appearance
      and Reality of Cruelty in Glossip v. Gross, VERDICT (May 19, 2015), https://verdict.justia.com/2015/05/19/the-appearance-
      and-reality-of-cruelty-in-glossip-v-gross.
30    Glossip, 135 S. Ct. at 2796-97 (Sotomayor, J., dissenting).
31    See Alexander Vey, Note, No Clean Hands in a Dirty Business: Firing Squads and the Euphemism of “Evolving Standards of
      Decency,” 69 VAND. L. REV. 545 (2016); Andrew Jensen Kerr, Facing the Firing Squad, 104 GEO. L.J. ONLINE 74 (2015);
      Deborah W. Denno, Kill Lethal Injection and Bring Back the Firing Squad, TIME (Apr. 28, 2015), http://time.com/3831515/
      execution-lethal-injection-supreme-court/. For discussions of the history and nature of the firing squad within the context
      of other methods of execution, see Deborah W. Denno, Is Electrocution an Unconstitutional Method of Execution? The
      Engineering of Death over the Century, 35 WM. & MARY L. REV. 551, 687-89 (1994) [hereinafter Denno, Engineering
      of Death]; Deborah W. Denno, Getting to Death: Are Executions Constitutional?, 82 IOWA L. REV. 319, 348-98 (1997)
      [hereinafter Denno, Getting to Death].
32    See Wood v. Ryan, 759 F.3d 1076, 1103 (9th Cir. 2014) (Kozinski, C.J., dissenting from denial of rehearing en banc)
      (“The firing squad strikes me as the most promising [method of execution].”); ROBERT BLECKER, THE DEATH OF


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      PUNISHMENT: SEARCHING FOR JUSTICE AMONG THE WORST OF THE WORST 181 (2013) ((favoring the firing
      squad over lethal injection because shooting resembles and represents a real punishment rather than a medical procedure); P.
      Thomas DiStanislao, A Shot in the Dark: Why Virginia Should Adopt the Firing Squad as Its Primary Method of Execution,
      49 U. RICH. L. REV. 779, 782 (2015) (contending that the state of Virginia should replace its current form of lethal injection
      execution with the firing squad because it is “a more effective means of execution”). For a thorough and informative overview
      of the history and use of the firing squad, see Christopher Cutler, Nothing Less Than the Dignity of Man: Evolving Standards,
      Botched Executions and Utah's Controversial Use of the Firing Squad, 50 CLEV. ST. L. REV. 335, 338-63 (2002-2003). Two
      post-Glossip publications have endorsed the firing squad in the context of Glossip: Vey, supra note 31, at 545; Kerr, supra
      note 31, at 74. Vey examines the firing squad as an alternative method of execution as well as an expression of state power
      to counter this country's euphemistic use of lethal injection as a punishment that looks like a medical procedure to soften the
      reality of state executions. Vey, supra note 31, at 575-84. Kerr effectively argues that the firing squad is more consistent with
      the government's goals of retribution and dignity, especially given all the challenges associated with lethal injection. Kerr,
      supra note 31, at 76-86.
33    Glossip, 135 S. Ct. at 2796-97 (Sotomayor, J., dissenting). Indeed, the Baze plurality considered the firing squad among the least
      modern methods of execution: “Our society has nonetheless steadily moved to more humane methods of carrying out capital
      punishment. The firing squad, hanging, the electric chair, and the gas chamber have each in turn given way to more humane
      methods, culminating in today's consensus on lethal injection.” Baze v. Rees, 553 U.S. 35, 62 (2008) (plurality opinion).
34    Two legal commentators mentioned Justice Sotomayor's take on the firing squad but only briefly and in the context of other
      types of arguments. See Vey, supra note 31, at 579 (noting Justice Sotomayor's view toward the firing squad as an invitation to
      litigating lawyers); Kerr, supra note 31, at 84 n.74 (quoting Justice Sotomayor's perspective on the humaneness and efficiency
      of the firing squad). Two news articles discussed the matter but only in passing in the context of analyzing Glossip in general.
      See Ed Pilkington, Controversial Oklahoma Lethal Injection Drug Approved by US Supreme Court, THE GUARDIAN,
      (June 30, 2015, 10:09 AM), http://www.theguardian.com/us-news/2015/jun/29/midazolam-supreme-court-oklahoma; Barbara
      Leonard, Supreme Court Upholds Execution Protocol Likened to Burning Alive, COURTHOUSE NEWS SERVICE, (June 29,
      2015, 8:32 AM) http://www.courthousenews.com/2015/06/29/supreme-court-upholds-execution-protocol-likened-to-burning-
      alive.htm.
35    See infra notes 168-183 and accompanying text.
36    Glossip, 135 S. Ct. at 2733.
37    Id. at 2731-32.
38    Id.
39    Id.
40    For detailed and documented overviews of these switches over the past two centuries for all death penalty states, see Denno,
      Engineering of Death, supra note 31, at 687-89; Denno, Getting to Death, supra note 31, at 348-98; Deborah W. Denno,
      The Lethal Injection Quandary: How Medicine Has Dismantled the Death Penalty, 76 FORDHAM L. REV. 49, 51-101
      (2007) [hereinafter Denno, Lethal Injection Quandary]; Deborah W. Denno, When Legislatures Delegate Death: The Troubling
      Paradox Behind State Uses of Electrocution and Lethal Injection and What It Says About Us, 63 OHIO ST. L.J. 63, 90-141
      (2002) [[hereinafter Denno, When Legislatures Delegate]; Denno, Lethal Injection Chaos, supra note 19, at 1333-34. For further
      discussion, see also SCOTT CHRISTIANSON, THE LAST GASP: THE RISE AND FALL OF THE AMERICAN GAS
      CHAMBER (2010) (providing a tour-de-force history of the gas chamber in the United States in the context of developments
      in national and international science, politics, and culture); AUSTIN SARAT, GRUESOME SPECTACLES: BOTCHED
      EXECUTIONS AND AMERICA'S DEATH PENALTY (2014) (analyzing all documented botched executions from 1890
      to 2010); Eric Berger, Lethal Injection Secrecy and Eighth Amendment Due Process, 55 B.C. L. REV. 1367 (2014) (discussing
      the constitutional implications of lower federal courts continually dismissing death row inmates' efforts to garner critical
      information about their lethal injection protocols); James Gibson & Corinna Lain, Death Penalty Drugs and the International
      Marketplace, 103 GEO. L.J. 1215 (2015) (examining the link between the efforts of European governments and the increasing
      shortage of lethal injection drugs); Shah, supra note 25, at 147 (criticizing the use of experimental executions involving death




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      row inmates as a result of the lethal injection drug shortage and correctional officials' attempts to substitute inappropriate
      drugs in lethal injection protocols).
41    For an overview of how hanging, lethal gas, and electrocution were initially hailed as successes only to be later deemed failures,
      see Denno, Engineering of Death, supra note 31; Denno, Getting to Death, supra note 31; Denno, Lethal Injection Quandary,
      supra note 40, at 51-101; Denno, Paved with Paradox, supra note 21; Denno, When Legislatures Delegate, supra note 40, at
      90-141; Denno, Lethal Injection Chaos, supra note 19, at 1333-34.
42    See generally Denno, Lethal Injection Chaos, supra note 19, at 1333-34 (documenting how death penalty states turned to lethal
      injection either exclusively or as a choice method); see Lethal Injection, DEATH PENALTY INFO. CENTER, supra note
      12 (providing the current status of lethal injection).
43    See Glossip, 135 S. Ct. at 2728.
44    For a discussion of how these groups came together see WILLIAM J. BOWERS, GLENN L. PIERCE & JOHN F.
      MCDEVITT, LEGAL HOMICIDE: DEATH AS PUNISHMENT IN AMERICA, 1864-1982 at 15-18 (1984); DANIEL
      MELTSNER, CRUEL AND UNUSUAL: THE SUPREME COURT AND CAPITAL PUNISHMENT 106-08 (1973);
      Jeffrey L. Kirchmeier, Another Place Beyond Here: The Death Penalty Moratorium Movement in the United States, 73 COLO.
      L. REV. 1, 11-15 (2002).
45    See MELTSNER, supra note 44 , at 106-25 ; see also Kirchmeier, supra note 44, at 11-15 (discussing the moratorium strategy).
46    MELTSNER, supra note 44, at 106.
47    See THE DEATH PENALTY IN AMERICA 24 (H. Bedau ed., 3d ed. 1982) (explaining that “[t]he de facto moratorium
      on executions [was] created in 1967 by the litigational efforts of the NAACP Legal Defense and Educational Fund”);
      MELTSNER, supra note 44, at 106-08 (describing the tactical forces at work); RAYMOND PATERNOSTER, CAPITAL
      PUNISHMENT IN AMERICA 18 (1991) (noting that the last execution before the hiatus began was that of Louis Jose
      Monge on June 2, 1967).
48    408 U.S. 238 (1972).
49    Id. at 239-40.
50    Id.
51    Kirchmeier, supra note 44, at 15 (noting that Furman had “no clear consensus”); Corinna Barrett Lain, Furman Fundamentals,
      82 WASH. L. REV. 1, 11 (2007) (“[O]ne cannot help but wonder if the [Furman] Justices' inability to agree on a doctrinal
      basis for their ruling was due to the fact that one simply did not exist.”); Carol S. Steiker & Jordan M. Steiker, Sober Second
      Thoughts: Reflections on Two Decades of Constitutional Regulation of Capital Punishment, 109 HARV. L. REV. 355, 362
      (1995) (“The opinions [in Furman] presented a staggering array of arguments for and against the constitutionality of the death
      penalty and offered little means, aside from shrewd political prediction, of determining which arguments would dominate in
      the decision of any future cases.”).
52    Kirchmeier, supra note 44, at 15; Lain, supra note 51, at 6-7; Steiker & Steiker, supra note 51, at 366-71.
53    See Furman, 408 U.S. at 411 (Blackmun, J., dissenting). For an earlier discussion of the impact of Furman, see Malcolm E.
      Wheeler, Toward a Theory of Limited Punishment II: The Eighth Amendment After Furman v. Georgia, 25 STAN. L. REV.
      62 (1973).
54    428 U.S. 153 (1976).
55    Id. at 187.
56    PATERNOSTER, supra note 47, at 18; see also infra notes 267 and 314 (discussing the execution of Gary Gilmore).
57    See supra notes 42-46 and accompanying text.




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58    See generally Denno, Getting to Death, supra note 31, at 373-74 (discussing these three rationales).
59    Id.
60    See infra notes 61-66.
61    See generally Denno, Getting to Death, supra note 31, at 373-75 (explaining the reasons why states turned to lethal injection
      as a new method of execution).
62    Glossip v. Gross, 135 S. Ct. 2726, 2732 (2015).
63    See supra note 19.
64    See Denno, Lethal Injection Quandry, supra note 40, at 65-70 (2007) (describing the creation of the protocol and the statute
      based on author's interviews with Jay Chapman and Bill Wiseman).
65    For an extensive overview of this history, see id. at 51-101.
66    See generally Denno, Lethal Injection Chaos, supra note 19, at 1333-34 (discussing the reasons for that change in the original
      Chapman-Wiseman protocol).
67    Glossip, 135 S. Ct. at 2732.
68    Id. (citation and internal quotation omitted).
69    553 U.S. 35 (2008) (plurality opinion).
70    Denno, Getting to Death, supra note 31, at 371.
71    See Denno, Engineering of Death, supra note 31, at 687-89; Denno, Getting to Death, supra note 31, at 348-98; Denno,
      Lethal Injection Chaos, supra note 19, at 1333-34; Denno, Lethal Injection Quandary, supra note 40, at 51-101; Denno, When
      Legislatures Delegate, supra note 40, at 90-141.
72    528 U.S. 960 (1999), cert. dismissed as improvidently granted, 528 U.S. 1133 (2000).
73    Id.
74    Bryan v. Moore, 528 U.S. 1133 (2000).
75    865 F. Supp. 1387 (N.D. Cal. 1994), aff'd, 77 F.3d 301 (9th Cir. 1994), vacated on other grounds, 519 U.S. 918 (1996) (remanded
      for reconsideration in light of changed statute).
76    Id. at 1415.
77    Former Cal. Penal Code § 3604(b) (West 1992) provided that “[i]f a person under sentence of death does not choose either
      lethal gas or lethal injection... the penalty of death shall be imposed by lethal gas.”
78    Fierro v. Gomez, 77 F.3d 301, 309 (9th Cir. 1996).
79    Id. at 308.
80    Gomez v. Fierro, 519 U.S. 918 (1996).
81    528 U.S. 1133 (2000); see also supra notes 71-74 and accompanying text.
82    California's amended death penalty statute now provides that lethal injection shall be used unless the inmate requests lethal
      gas. Cal. Penal Code § 3604(b) (West 1996) (lethal gas or lethal injection at the condemned's election; lethal injection if the
      condemned fails to choose a method).




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83    Gomez, 519 U.S. at 918 (1996). In his dissent, Justice Stevens noted the irony of the Court's remand given that it was clear that
      the inmate's only choice was lethal injection: “[U]nder either the terms of the new statute or the terms of the judgment of the
      Court of Appeals, lethal injections will be used to carry out these respondents' sentences.” Id. at 919 (Stevens, J., dissenting).
84    526 U.S. 115 (1999).
85    Id. at 118-19 n.34.
86    Glossip v. Gross, 135 S. Ct. 2726, 2732 (2015).
87    99 U.S. 130 (1878).
88    Robinson v. California, 370 U.S. 660, 666 (1962) (holding that the Eighth Amendment applies to the states through the Due
      Process Clause of the Fourteenth Amendment).
89    Wilkerson, 99 U.S. at 130.
90    Id. at 135.
91    Id. at 131; see also id. at 132-37 (holding that, although the Utah Territory's legislature had made no provision for a method of
      execution in the 1876 Code, which superseded the 1852 law, the petitioner could properly be sentenced to death by shooting).
92    Id. at 137.
93    Glossip v. Gross, 135 S. Ct. 2726, 2732 (2015).
94    136 U.S. 436 (1890).
95    329 U.S. 459 (1947).
96    Robinson v. California, 370 U.S. 660, 666 (1962).
97    Kemmler, 136 U.S. at 443. For a broader analysis of the history and modern use of Kemmler, see Denno, Engineering of Death,
      supra note 31.
98    For an examination of cases that cite to Kemmler for such an incorrect proposition, see Denno, Engineering of Death, supra
      note 31, at 687-89.
99    Resweber, 329 U.S. at 459.
100   For an analysis of the history and legal backdrop of Resweber as well as the case's misuse in Baze v. Rees, 553 U.S. 35
      (2008) (plurality opinion), see Deborah W. Denno, When Willie Francis Died: The Disturbing Story Behind One of the Eighth
      Amendment's Most Enduring Standards of Risk, in DEATH PENALTY STORIES 1, 17-94 (John H. Blume & Jordan M.
      Steiker eds., 2009).
101   In 2008, the Nebraska Supreme Court held electrocution to be unconstitutional. See State v. Mata, 745 N.W.2d 229, 278
      (Neb. 2008). A year later, the Nebraska legislature adopted lethal injection. NEB. REV. STAT. § 83-964 (2010).
102   In 2001, the Georgia Supreme Court held electrocution to be unconstitutional. See Dawson v. State, 554 S.E.2d 137, 144 (Ga.
      2001) (explaining that electrocution's “specter of excruciating pain and its certainty of cooked brains” constituted cruel and
      unusual punishment).
103   For an overview of how, when, and where these switches from electrocution to lethal injection occurred, see generally Denno,
      Engineering of Death, supra note 31; Denno, Getting to Death, supra note 31; Denno, Lethal Injection Chaos, supra note 19,
      at 1333-34; Denno, Lethal Injection Quandary, supra note 40, at 51-101; Denno, Paved with Paradox, supra note 21; Denno,
      When Legislatures Delegate, supra note 40, at 90-141.
104   See supra notes 58-103 and accompanying text.




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105   See supra notes 37-40 and accompanying text.
106   Glossip v. Gross, 135 S. Ct. 2726, 2733 (2015).
107   Id.
108   See supra note 23 and accompanying text and infra notes 109-12 and accompanying text.
109   For a discussion of these post-Baze efforts to restart lethal injection, see generally Deborah W. Denno, Introduction to The
      Lethal Injection Debate: Law & Science, 35 FORDHAM URB. L.J. 701 (2008) [hereinafter Denno, Lethal Injection Debate];
      Denno, Lethal Injection Chaos, supra note 19; Denno, Paved with Paradox, supra note 21; Perspective Roundtable: Physicians
      and Execution--Highlights from a Discussion of Lethal Injection, 358 NEW ENG. J. MED. 448 (2008) (with Deborah Denno,
      Atul Gawande, Robert D. Truog & David Waisael) [hereinafter Perspective Roundtable].
110   For an overview of these impediments, see generally Denno, Lethal Injection Debate, supra note 109; Denno, Lethal Injection
      Chaos, supra note 19; Denno, Paved with Paradox, supra note 21; Perspective Roundtable, supra note 109.
111   See Denno, Lethal Injection Chaos, supra note 19, at 1339-81. See generally Lethal Injection, Politics, and the Future of the Death
      Penalty, 49 RICH. L. REV. 671 (2015) (a symposium reviewing the wide range of problems surrounding lethal injection).
112   See U.S. GOV'T ACCOUNTABILITY OFFICE, GAO-14-194, DRUG SHORTAGES: PUBLIC HEALTH THREAT
      CONTINUES, DESPITE EFFORTS TO HELP ENSURE PRODUCT AVAILABILITY 14 fig. 4, 21 (2014).
113   733 F.3d 1 (D.C. Cir. 2013).
114   Id. at 12.
115   See generally Denno, Lethal Injection Chaos, supra note 19, at 1361-63 (discussing the Cook case).
116   Garrett Epps, Out of Spite: The Governor of Nebraska's Threat to Execute Prisoners, THE ATLANTIC (June 5, 2015), http://
      www.theatlantic.com/politics/archive/2015/06/a-governor-threatens-to-execute-prisoners-out-of-spite/394949/.
117   Chris McDaniel & Chris Geidner, Arizona, Texas Purchased Execution Drugs Illegally Overseas, But FDA Halts the
      Import, BUZZFEEDNEWS (Oct. 22, 2015), http://www.buzzfeed.com/chrismcdaniel/arizona-texas-purchased-execution-
      drugs-illegally#.xaxV8Jb32; Tasneem Nashrulla, Chris McDaniel & Chris Geidner, Three States Bought Illegal Execution
      Drugs from Supplier in India, BUZZFEEDNEWS (Oct. 23, 2015), http://www.buzzfeed.com/tasneemnashrulla/three-states-
      bought-illegal-execution-drugs-from-supplier-in#.qt42bx1av/.
118   Chris McDaniel & Tasneem Nashrulla, This is the Man in India Who is Selling States Illegally Imported Execution Drugs,
      B UZZFEEDNEWS (Oct. 20, 2015), http://www.buzzfeed.com/chrismcdaniel/this-is-the-man-in-india-who-is-selling-states-
      illegally-imp#.twR3doPG6.
119   See infra notes 108-53 and accompanying text.
120   See supra notes 22-27 and accompanying text.
121   McDaniel & Geidner, supra note 117; Nashrulla, McDaniel & Geidner, supra note 117.
122   Denno, Lethal Injection Chaos, supra note 19, at 1333-34; Lethal Injection, DEATH PENALTY INFO. CENTER, supra note
      12.
123   For a discussion of these problems and botched executions, see generally Glossip v. Gross, 135 S. Ct. 2726, 2780-96 (2015)
      (Sotomayor, J., dissenting) (discussing the challenges with lethal injection generally and the particular problems associated
      with midazolam); Eric Berger, The Executioners' Dilemmas, 49 U. RICH. L. REV. 731, 731 (2015) (contending that states “do
      not devote sufficient care to their lethal injection procedures,” thereby resulting in Eighth Amendment violations); Corinna
      Barrett Lain, The Politics of Botched Executions, 49 U. RICH. L. REV. 825, 827-43 (2015) (discussing the four major botched
      lethal injection executions of 2014 and the troubling and inadequate state responses); Joel Zivot, Lethal Injection: States
      Medicalize Execution, 49 U. RICH. L. REV. 711, 715-29 (2015) (noting that the Supreme Court neither understands the effects



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      of lethal injection drugs in the human body nor the impact of the Baze Court's decision on the medical profession and the
      practice of medicine).
124   Glossip, 135 S. Ct. at 2733 (“Baze cleared any legal obstacle to use of the most common three-drug protocol that had enabled
      States to carry out the death penalty in a quick and painless fashion.”).
125   See id. (explaining that “anti-death-penalty advocates pressured pharmaceutical companies to refuse to supply the drugs used
      to carry out death sentences”).
126   See id. at 2734.
127   See generally Gibson & Lain, supra note 40, at 1236-40.
128   See Lethal Injection, REPRIEVE, http://www.reprieve.org.uk/topic/lethal-injection/ (last visited May 4, 2016). Reprieve has
      a “Stop Lethal Injection Project” which “helps pharmaceutical manufacturers, investors, and regulators prevent the misuse
      of medicines in the execution of prisoners.” Id.
129   See infra notes 130-54 and accompanying text.
130   See Glossip, 135 S. Ct. at 2733-34.
131   See Erik Eckholm, Pfizer Blocks the Use of Its Drugs in Executions, N.Y. TIMES, May 13, 2016, at A1 (quoting an expert's
      explanation that states have enacted strict secrecy provisions around how lethal injection is conducted and the sources of the
      drugs injected not in an effort to shield manufacturers from being exposed to public scrutiny but “‘to keep the manufacturers
      in the dark about the misuse of their products”’); Helping Pharmaceutical Companies Stop Their Medicines Being Used
      to Kill, REPRIEVE, http://www.reprieve.org.uk/case-study/issues-helping-pharmaceutical-companies-stop-their-medicines-
      being-used-to-kill/ (last visited May 31, 2016) (noting that “the vast majority of affected drug manufacturers have acted to
      prevent their products being sold to prisons for use in executions by lethal injection”).
132   Eckholm, supra note 131 (explaining that the companies that have restricted the use of drugs in executions have done so for
      “either moral or business reasons”).
133   733 F.3d 1 (D.C. Cir. 2013).
134   See Denno, Lethal Injection Quandary, supra note 40, at 51-101 (detailing the extent to which medical professionals have been
      involved in lethal injection executions).
135   See Ty Alper, The Truth About Physician Participation in Lethal Injection Executions, 88 N.C. L. Rev. 11, 12-49 (2009); Denno,
      Lethal Injection Quandary, supra note 40, at 51-101.
136   See Alper, supra note 135, at 12-49; Denno, Lethal Injection Quandary, supra note 40, at 51-101.
137   See Alper, supra note 135, at 44-49; Ty Alper, The Role of State Medical Boards in Regulating Physician Participation
      in Executions, 95 J. MED. LICENSURE & DISCIPLINE 1, 3 (2008); Denno, Lethal Injection Quandary, supra note
      40, at 65-91; Atul Gawande, When Law and Ethics Collide--Why Physicians Participate in Executions, 354 NEW ENG.
      J. MED. 1221, 1223-28 (2006); Shah, supra note 25, at 197. For an excellent and detailed overview of the problems
      with the Clayton Lockett execution, including accompanying documentation, reports, interviews, related stories, and
      updates, see Cary Aspinwall & Ziva Branstetter, Records Reveal Lack of Protocol in Clayton Lockett's Oklahoma
      Execution, TULSA WORLD (Mar. 16, 2015), http://www.tulsaworld.com/homepage1/records-reveal-lack-of-protocol-in-
      clayton-lockett-s-oklahoma/article_e4f17853-160c-530a-9f36-928a0fd9f605.html.
138   See Shah, supra note 25, at 148-50 (referring to the experimental dynamics of the Clayton Lockett execution); Aspinwall &
      Branstetter, supra note 137 (offering continual reports of the problems with the Clayton Lockett execution); see generally
      Interim Report Number 14 of the Grand Jury, In the Matter of the Multicounty Grand Jury, State of Oklahoma, Case No.
      SCAD-2014-70, at 4, 6, 22, 77, 100 (Okla. May 19, 2016) [hereinafter Interim Report] (detailing a review of the state's lethal
      injection protocol and procedural problems that contributed to the complications with the Clayton Lockett execution).
139   Glossip v. Gross, 135, S.Ct. 2726, 2735 (2015).



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140   Interim Report, supra note 138; see also Chris McDaniel, Scathing Oklahoma Report Showcased Issues Common in
      Death Penalty States, BUZZFEED.com, May 20, 2016, https://www.buzzfeed.com/chrismcdaniel/scathing-oklahoma-
      grand-jury-investigation-showcased-issues?utm_term=.lcX1bDkdl#.scKN9Xj0p (noting that the grand jury report on
      recent Oklahoma executions, including Clayton Lockett's, was “scathing” in the way it depicted Oklahoma's
      “carelessness and dismissive attitude toward established procedures and the inmates' rights” as well as the “extreme,
      and sometimes arbitrary, level of secrecy in how the department carries out executions”); Samantha Vicent,
      Grand Jury Probe Shows Secrecy Used In Execution Process Caused Trouble, “Systemic Ineptitude,” TULSA
      WORLD, May 23, 2016, http://www.tulsaworld.com/homepagelatest/grand-jury-probe-shows-secrecy-used-in-execution-
      process-caused/article_76ae109b-ebd8-5f93-8813-44d26ad47fd1.html (explaining that “[a] national expert on death penalty
      practices says the behavior of state officials highlighted in a grand jury report on Oklahoma's execution process is proof of
      ‘systemic ineptitude that undermines public faith in government”’).
141   See Aspinwall & Branstetter, supra note 137 (noting that a paramedic and doctor were rapidly trying to find a vein on Clayton
      Lockett and start an IV to deliver his lethal injection).
142   See Alper, supra note 135, at 44-49; Alper, supra note 137, at 3; Denno, Lethal Injection Quandary, supra note 40, at 65-91;
      Gawande, supra note 137, at 1223-28; Shah, supra note 25, at 197.
143   Press Release, International Academy of Compounding Pharmacists, IACP Adopts Position on Compounding of Lethal
      Injection Drugs: Board Discourages Practice Among Members (Mar. 24, 2015), http://www.deathpenaltyinfo.org/documents/
      IACPPressRelease.pdf. The Board of Directors of the International Academy of Compounding Pharmacists released the
      following statement summarizing its adopted position on the issue:
      While the pharmacy profession recognizes an individual practitioner's right to determine whether to dispense a medication
      based upon his or her personal, ethical and religious beliefs, IACP discourages its members from participating in the
      preparation, dispensing, or distribution of compounded medications for use in legally authorized executions. “The issue of
      compounded preparations being used in the execution of prisoners sentenced to capital punishment continues to be a topic of
      significant interest. It is important to first understand the origin of this issue: states are turning to compounded preparations
      for this purpose because the companies that manufacture the products traditionally used have unilaterally decided to stop
      selling them for use in executions. IACP believes that a national discussion needs to be conducted on whether a pharmaceutical
      manufacturer can restrict the use of FDA approved products only to purposes that adhere to their corporate values.
      Id.
144   Eckholm, supra note 131; Christopher Matthews & Ashby Jones, Pfizer Tightens Controls to Block Use of Its Drug in
      Executions, WALL ST. J., May 13, 2016, http://www.wsj.com/articles/pfizer-tightens-controls-to-block-use-of-its-drugs-in-
      executions-1463183996.
145   Eckholm, supra note 131; Matthews & Jones, supra note 144.
146   Eckholm, supra note 131.
147   Id.
148   Id.
149   See Mark Kessel, Restoring the Pharmaceutical Industry's Reputation, 32 NATURE BIOTECH. 983, 983-99 (2014).
150   Clare Algar, Big Pharma May Help End the Death Penalty, NEW REPUBLIC (Oct. 22, 2013), https://newrepublic.com/
      article/115284/big-pharma-may-end-death-penalty.
151   See Public Opinion About the Death Penalty, DEATH PENALTY INFO. CENTER, http://www.deathpenaltyinfo.org/ (last
      visited May 4, 2016).
152   For insightful discussions of the problems with state secrecy provisions and how depleting drugs can expand them even further,
      see Berger, supra note 40, 1388-440; Mary D. Fan, The Supply-Side Attack on Lethal Injection and the Rise of Execution
      Secrecy, 95 B.U. L. REV. 427 (2015).




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153   See supra notes 112-20 and accompanying text.
154   For an overall discussion of the Court's proclivity to be out of touch, see generally BARRY FRIEDMAN, THE WILL
      OF THE PEOPLE: HOW PUBLIC OPINION HAS INFLUENCED THE SUPREME COURT AND SHAPED THE
      MEANING OF THE CONSTITUTION (2009).
155   See Glossip v. Gross, 135 S. Ct. 2726, 2731 (2015).
156   See id. at 2792-97 (Sotomayor, J., dissenting).
157   This Article agrees with the conclusion reached by Justice Sotomayor. See id.
158   Id. at 2731, 2737-38.
159   Baze v. Rees, 553 U.S. 35, 51 (2008) (emphasis added).
160   Id. at 52.
161   See Glossip, 135 S. Ct. at 2737.
162   Id.
163   Id. at 2755 (Breyer, J., dissenting).
164   Id. at 2780 (Sotomayor, J., dissenting).
165   See id. at 2746 (Scalia, J., concurring).
166   See id. at 2750 (Thomas, J., concurring).
167   For examples of key media articles focusing on Justice Breyer's dissent, see Adam Liptak, Supreme Court Allows Use of
      Execution Drug, N.Y. TIMES (June 29, 2015), http://www.nytimes.com/2015/06/30/us/supreme-court-execution-drug.html?
      _r=0; Charlie Savage, Highlights from the Supreme Court Decision on Lethal Injection, N.Y. TIMES (June 29, 2015), http://
      www.nytimes.com/interactive/2015/us/2014-term-supreme-court-decision-lethal-injection.html.
168   Glossip, 135 S. Ct. at 2792-97 (Sotomayor, J., dissenting).
169   Id. at 2795.
170   Id. at 2793.
171   Id.
172   Id.
173   Id. at 2794.
174   Id.
175   Id. at 2796.
176   Id.
177   Id.
178   Id. at 2797.
179   Id.
180   Id.




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181   Id.
182   Id.
183   See supra notes 106-54 and accompanying text.
184   Glossip, 135 S. Ct. at 2739.
185   Id. (quoting Sotomayor, J., dissenting at 2796).
186   Id. (quoting Sotomayor, J., dissenting at 2796).
187   Id.
188   Id.
189   Id. at 2796-97.
190   Id.
191   As this Article notes, Wilkerson v. Utah, 99 U.S. 130 (1878), did not uphold the constitutionality of the firing squad under
      an Eighth Amendment analysis. See supra notes 86-92 and accompanying text.
192   Glossip, 135 S. Ct. at 2731.
193   See infra notes 201-03 and accompanying text.
194   See infra note 198 and accompanying text.
195   See infra notes 268-76 and accompanying text.
196   759 F.3d 1076, 1103 (9th Cir. 2014) (Kozinski, C.J., dissenting from denial of rehearing en banc).
197   Id.
198   Id.
199   Id.
200   See supra notes 24, 104, 111, 123, 138-41, 222 and accompanying text.
201   M. WATT ESPY & JOHN ORTIZ SMYKLA, EXECUTIONS IN THE UNITED STATES: 1608-1987 at i (1987)
      [hereinafter ESPY file]; see also GEOFFREY ABBOTT, EXECUTION 103 (2005) (referring to the execution of George
      Kendall, the first execution in the American colonies).
202   Cutler, supra note 32, at 398.
203   Id. at 337 n.5 (noting that “at least 185 men were executed by firing squad during the Civil War”). Historically, the military
      used the firing squad as a method of execution for those soldiers who engaged in desertion, mutiny, or other types of military
      offenses. See FREDERICK DRIMMER, UNTIL YOU ARE DEAD: THE BOOK OF EXECUTIONS IN AMERICA
      89 (1990); see also Firing Squad, in ENCYCLOPEDIA OF CAPITAL PUNISHMENT IN THE UNITED STATES 189
      (Louis J. Palmer, ed. 2008) (noting the use of the firing squad in the military). Of the 40,000 servicemen who deserted during
      World War II, only 49 received death sentences for desertion, and only one, Private Donald Edward Slovik, was actually
      executed. DRIMMER, supra, at 106-07. The Death Penalty Information Center provides data from a document discovered
      at the Pentagon that enumerates those executions governed by the military from 1945 through 1961. Most of those executions
      used hanging while the others used the firing squad or the method was unknown. See Executions in the Military, DEATH
      PENALTY INFO. CENTER, http://www.deathpenaltyinfo.org/executions-military (last visited May 11, 2016).
204   ESPY file, supra note 201, at 5. The Espy file documents all firing squad executions that took place in the colonies, the
      territories, and the states from 1608 through 1987, excluding military executions. Id. at i-iv. The Espy file lists 142 firing squad


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      executions. Id. at 5. Since the time the Espy file was compiled, Utah executed two more inmates: John Albert Taylor in 1996,
      see infra notes 287-94, 315, and Ronnie Lee Gardner in 2010, see infra notes 241, 316-17. Thus, the total number of firing
      squad executions in the United States is 144.
205   The firing squad is the fourth execution method in Oklahoma. H.B. 1879, 55th Leg., Reg. Sess. (Okla. 2015). The Oklahoma
      statute provides as follows:
      § 1014 (A) The punishment of death shall be carried out by the administration of a lethal quantity of a drug or drugs until
      death is pronounced by a licensed physician according to accepted standards of medical practice.
      (B) If the execution of the sentence of death as provided in subsection A of this section is held unconstitutional by an appellate
      court of competent jurisdiction or is otherwise unavailable, then the sentence of death shall be carried out by nitrogen hypoxia.
      (C) If the execution of the sentence of death as provided in subsections A and B of this section is held unconstitutional by
      an appellate court of competent jurisdiction or is otherwise unavailable, then the sentence of death shall be carried out by
      electrocution.
      (D) If the execution of the sentence of death as provided in subsections A, B and C of this section is held unconstitutional
      by an appellate court of competent jurisdiction or is otherwise unavailable, then the sentence of death shall be carried out
      by firing squad.
      Id.
206   In 2015, Utah brought back the firing squad. Utah Code Ann. § 77-18-5.5 (LexisNexis 2015). The Utah statute provides as
      follows:
      (1) (a) When a defendant is convicted of a capital felony and the judgment of death has been imposed, lethal intravenous
      injection is the method of execution.
      (b) Subsection (1)(a) applies to any defendant sentenced to death on or after May 3, 2004, except under Subsections (2), (3),
      and (4).
      (2) If a court holds that a defendant has a right to be executed by a firing squad, the method of execution for that defendant
      shall be a firing squad. This Subsection (2) applies to any defendant whose right to be executed by a firing squad is preserved
      by that judgment.
      (3)(a) If a court holds that execution by lethal injection is unconstitutional on its face, the method of execution shall be a
      firing squad.
      (b) If a court holds that execution by lethal injection is unconstitutional as applied, the method of execution for that defendant
      shall be a firing squad.
      (4) The method of execution for the defendant is the firing squad if the sentencing court determines the state is unable to
      lawfully obtain the substance or substances necessary to conduct an execution by lethal intravenous injection 30 or more days
      prior to the date specified in the warrant issued upon a judgment of death under Section 77-19-6.
      Id.
207   Okla. H.B. 1879 at § 1014 (A); Utah Code Ann. § 77-18-5.5 (1)(a).
208   Okla. H.B. 1879 at § 1014 (D).
209   Id. at (B). The firing squad used to be third in line in Oklahoma. Now, with the introduction of nitrogen gas, it is fourth in
      line. See Denno, Getting to Death, supra note 31, at 390 (describing the earlier execution-method hierarchy in Oklahoma).
210   See Scott Christiansen, How Oklahoma Came to Embrace the Gas Chamber, NEW YORKER (June 24, 2015), http://
      www.newyorker.com/news/news-desk/how-oklahoma-came-to-embrace-the-gas-chamber?intcid=mod-latest.
211   Utah Code Ann. § 77-18-5.5 (LexisNexis 2015).
212   Deborah W. Denno, When Legislatures Delegate, supra note 40, at 192-93; Bill Removes Firing Squad As Execution Option,
      KTVB. COM (Oct. 14, 2009), http://www.ktvb.com/story/news/local/2014/06/27/11478095/.
213   IDAHO CODE § 19-2716 (1987). The Idaho statute provides: “The punishment of death shall be inflicted by continuous,
      intravenous administration of a lethal quantity of an ultra-short-acting barbituate [sic] in combination with a chemical
      paralytic agent until death....” Id. The director of the department of corrections will decide which substances and procedures
      will be used. Id. However,




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               “[i]n any case where the director finds it to be impractical to carry out the punishment of death by administration
               of the required lethal substance or substances for the reason that it is not reasonably possible to obtain expert
               technical assistance, should such be necessary to assure that infliction of death by administration of such
               substance or substances can be carried out in a manner which causes death without unnecessary suffering, the
               sentence of death may be carried out by firing squad.”

      Id.
214   553 U.S. 35, 61 (2008) (plurality opinion).
215   K TVB.com, supra note 212.
216   See Searchable Execution Database, DEATH PENALTY INFO. CENTER, http://www.deathpenaltyinfo.org/views-
      executions?exec_name_1=&sex=All&sex_1=All&method[                                               ]=Firing+Squad&federal
      =All&foreigner=All&juvenile=All&volunteer=All (last visited Mar. 3, 2016) (showing that all three firing squad executions
      from 1976 to 2016 took place only in Utah).
217   Laura Hancock, Wyoming House Passes Firing Squads Execution Bill, CASPER STAR TRIBUNE (Feb.
      13, 2015), http://trib.com/news/state-and-regional/govt-and-politics/wyoming-house-passes-firing-squads-execution-bill/
      article_1c77faca-32f5-5f00-8369-34ba66b0572d.html.
218   Erin Jones, Firing Squad Bill Fails, WYO. PUB. RADIO (Mar. 12, 2015), http://wyomingpublicmedia.org/post/firing-squad-
      bill-fails.
219   S. File 13, 63rd Leg., 2015 Gen. Sess. (Wyo. 2015).
220   DiStanislao, supra note 32, at 798.
221   SARAT, supra note 40, at 177-78.
222   See Arif Khan & Robyn M. Leventhal, Medical Aspects of Capital Punishment Executions, 47 J. FORENSIC SCI. 847, 849-50
      (2002).
223   428 U.S. 153 (1976).
224   See supra notes 54-57 and accompanying text.
225   See infra notes 314-17 and accompanying text.
226   Searchable Execution Database, DEATH PENALTY INFO. CENTER, http://www.deathpenaltyinfo.org/views-executions?
      exec_name_1=&sex=All&sex_1=All&method[ ]=Firing+Squad&federal =All&foreigner=All&juvenile=All&volunteer=All
      (last visited Mar. 3, 2016) (showing that the last firing squad execution conducted in this country was in 2010).
227   UTAH CODE ANN. § 77-18-5.5 (1)(a-b) (LexisNexis 2015).
228   § 77-18-5.5 (2).
229   § 77-18-5.5 (3)(a).
230   § 77-18-5.5 (3)(b).
231   § 77-18-5.5 (4).
232   UTAH CODE ANN. § 77-19-10(1) (LexisNexis 2015); UTAH ADMIN. CODE r. 251-107-4 (1) (2015) (location and
      procedures).
233   DRIMMER, supra note 203, at 91 ; Execution Procedures, Utah State Prison (n.d.) (on file with the author) (information
      released to the media at the time of the 2010 execution of Ronnie Lee Gardner). For a discussion of both the history and




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      early modern use of the firing squad, see generally L. KAY GILLESPIE, THE UNFORGIVEN: UTAH'S EXECUTED
      MEN (1991).
234   UTAH CODE ANN. § 77-19-10(3); UTAH ADMIN. CODE r. 251-107-4 (3).
235   UTAH CODE ANN. § 77-19-11 (2015); UTAH ADMIN. CODE r. 251-107-6.
236   UTAH ADMIN. CODE r. 251-107-7 (1).
237   UTAH ADMIN. CODE r. 251-107-7 (3).
238   UTAH ADMIN. CODE r. 251-107-7 (7).
239   UTAH ADMIN. CODE r. 251-107-7 (6).
240   Cutler, supra note 32, at 363-64; Execution Procedures, supra note 234. According to the Execution Procedures distributed at
      the time of the Ronnie Lee Gardner firing squad execution in 2010, the execution chamber or room was described as follows.
      EXECUTION CHAMBER
      The execution will take place at the Utah State Prison in Draper, Utah. The facility's execution chamber was completed in
      1998. It has been used once--for a lethal injection execution in the 1999 case of State of Utah vs. Joseph Mitchell Parsons.
      The scheduled execution will be the first performed by firing squad in the permanent chamber. The room is approximately
      20 feet by 24 feet and is fitted with curtains to cover the windows in the adjacent witness rooms. The windows are complete
      with bullet-proof, reflective glass to protect witnesses from unintended ricochet, and to separate and protect the identities of
      the witnesses.
      Execution Procedures, supra note 234.
241   One of the more documented accounts comes from Christopher Cutler. See Cutler, supra note 32, at 363-64.
242   See Execution Procedures, supra note 234.
243   Nate Carlisle, Firing Squad: An Eyewitness Account of Gardner's Execution, SALT LAKE TRIBUNE (Jan. 18, 2016), http://
      archive.sltrib.com/story.php?ref=/news/ci_15325356.
244   Cutler, supra note 32, at 363-64; Carlisle, supra note 244; Execution Procedures, supra note 234. The Execution Procedures
      distributed at the time of the Ronnie Lee Gardner firing squad execution in 2010 describe the set-up as follows.
      FIRING SQUAD LOGISTICS
      Executioners, pre-selected by the Department of Corrections, must be law-enforcement certified in the State of Utah. The
      five law enforcers remain anonymous, and will be stationed behind a gun ported brick wall in the execution chamber. The
      executioners will be armed with .30-caliber rifles, four of which will be loaded with live rounds. The weapon carrying the blank
      round will be unknown to the law enforcers.
      The condemned will be secured to a chair, and a target will be placed over his heart and a hood over his head. At the conclusion
      of the condemned's last words, the execution team will commence fire. A physician will be on site to certify that death has
      occurred.
      Execution Procedures, supra note 234.
245   Brady McCombs, Utah's Firing Squad: How Does It Work?, ABC NEWS (Mar. 24, 2015), http://www.msn.com/en-us/news/
      crime/5-questions-answered-how-do-firing-squads-work/ar-AA9VcKI.
246   Cutler, supra note 32, at 364; McCombs, supra note 246.
247   Cutler, supra note 32, at 363-64; Execution Procedures, supra note 234 (noting that the guns are .30 caliber rifles); McCombs,
      supra note 246.
248   Carlisle, supra note 244.
249   Cutler, supra note 32, at 363-64; Carlisle, supra note 244; Execution Procedures, supra note 234.
250   Cutler, supra note 32, at 364.



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251   Id.
252   McCombs, supra note 246.
253   UTAH ADMIN. CODE r. 251-107-4 (4) (2015).
254   D RIMMER, supra note 203, at 91.
255   Execution Procedures, supra note 234.
256   See Lafferty v. Crowther, No. 2:07-CV-322, 2015 WL 6875393 (D. Utah Oct. 30, 2015) (dismissing inmates' arguments
      that the firing squad is cruel and unusual); Utah: Challenging Firing Squad Execution, N.Y. TIMES (Oct. 30, 2015), http://
      www.nytimes.com/2015/10/31/us/utah-judge-denies-appeal-challenging-firing-squad-execution.html?ref=us (discussing the
      Lafferty challenge to the firing squad).
257   See Martin R. Gardner, Executions and Indignities-- An Eighth Amendment Assessment of Methods of Inflicting Capital
      Punishment, 39 OHIO ST. L.J. 96, 123 (1978) (“It is not certain whether death by firing squad causes physical pain.”); Harold
      Hillman, The Possible Pain Experienced During Execution by Different Methods , 22 PERCEPTION 745, 745 (1993) (“It is
      difficult to know how much pain the person being executed [by firing squad] feels or for how long, because many of the signs of
      pain are obscured by the procedure or by physical restraints, but one can identify those steps which are likely to be painful.”).
      Books on this topic do not discuss pain or physical suffering. See, e.g., VINCENT J.M. DI MAIO, GUNSHOT WOUNDS:
      PRACTICAL ASPECTS OF FIREARMS, BALLISTICS, AND FORENSIC TECHNIQUES (1999) (providing no section
      where pain is discussed in terms of physical suffering).
258   ROYAL COMM'N ON CAPITAL PUNISHMENT, 1949-53 REPORT 251 (1953) [[hereinafter ROYAL COMM'N
      REPORT]. In 1949, the Queen of England appointed 12 individuals
      [t]o consider and report whether liability under the criminal law in Great Britain to suffer capital punishment for murder
      should be limited or modified, and if so, to what extent and by what means, for how long and under what conditions persons
      who would otherwise have been liable to suffer capital punishment should be detained, and what changes in the existing
      law and the prison system would be required; and to inquire into and take account of the position in those countries whose
      experience and practice may throw light on these questions.
      Id. at iii. To this day, the Royal Commission's report is cited as solid authority on methods of execution. See, e.g., THE
      DEATH PENALTY IN AMERICA, supra note 47, at 5, 16, 22, 287, 315, 378; FRANKLIN ZIMRING & GORDON
      HAWKINS, CAPITAL PUNISHMENT AND THE AMERICAN AGENDA 11-12, 107-09 (1986).
259   ROYAL COMM'N REPORT, supra note 259.
260   See Khan & Leventhal, supra note 223, at 3; see supra notes 175-83 and accompanying text and infra notes 258-77 and
      accompanying text.
261   DRIMMER, supra note 203, at 117.
262   GILLESPIE, supra note 234, at 117 (discussing Deering's execution); Phillips H. Lord, Public Guinea Pig No. 1, SCRIBNER'S
      COMMENTATOR, 94, 94-98 (1940) (depicting Deering's life, crime, and death); Gladys Hobbs, Science Benefits by Execution
      of Deering, DESERET NEWS (Salt Lake City), Oct. 31, 1938, at 3 (describing details of the Deering execution); Slayer's
      Heart Triples Beat As He Faces Death, CHIC. DAILY TRIB., Nov. 1, 1938, at 8 [hereafter Slayer's Heart] (noting that the
      electrocardiograph of Deering's heart was “the first ever made of a man's heart as bullets pierced it”).
263   Lord, supra note 263, at 97-98; Hobbs, supra note 263; Slayer's Heart, supra note 263.
264   Slayer's Heart, supra note 263.
265   Hobbs, supra note 263.
266   DRIMMER, supra note 203, at 119.
267   See HILLMAN, supra note 258, at 750.




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268   Id. at 745.
269   Id. at 749-50.
270   Id.
271   Id. at 745.
272   See supra notes 201-04 and accompanying text.
273   Josh Sanburn, The Harsh Reality of Execution by Firing Squad, TIME (Mar. 12, 2015), http://time.com/3742818/utah-firing-
      squad-execution-lethal-injection/; Telephone Interview with Jonathan I. Groner, M.D., Interim Chief of the Department of
      Pediatric Surgery and Trauma Medical Director of the Level 1 Trauma Program at Nationwide Children's Hospital and a
      Professor of Clinical Surgery at The Ohio State University College of Medicine (Aug. 15, 2015).
274   Telephone Interview with Jonathan I. Groner, supra note 274.
275   Sanburn, supra note 274; Telephone Interview with Jonathan I. Groner, supra note 274.
276   Sanburn, supra note 274.
277   Gardner, supra note 258, at 123-24; Roberta Harding, The Gallows to the Gurney: Analyzing the (Unconstitutionality) of the
      Methods of Execution, 6 PUB. INT. L.J. 153, 170-71 (1996).
278   See supra notes 201-04 and accompanying text.
279   See Cutler, supra note 32, at 346-47, 356-57, 413.
280   See id. at 346.
281   See id. at 346-47.
282   GILLESPIE, supra note 234, at 49.
283   GILLESPIE, supra note 234, at 49; Cutler, supra note 32, at 346-67.
284   GILLESPIE, supra note 234, at 127-29.
285   Id. at 129.
286   See Execution Database, DEATH PENALTY INFO. CENTER, http://www.deathpenaltyinfo.org/views-executions (last
      visited May 4, 2016).
287   Letter from Gina Proctor, Records Manager, Utah Dep't of Corr.-- Admin. Services Bureau, to author (Feb. 4, 2016) (on
      file with author).
288   See infra notes 289-97 and accompanying text.
289   GILLESPIE, supra note 234, at 12-13; Martin R. Gardner, Illicit Legislative Motivation As a Sufficient Condition for
      Unconstitutionality under the Establishment Clause--A Case for Consideration: The Utah Firing Squad, WASH. U. L. REV.
      435, 440, 442 (1979).
290   GILLESPIE, supra note 234, at 12-13 (describing the evolution of the Mormon belief in “blood atonement,” which proposes
      that “only through choosing a method of execution which results in blood being ‘spilled’ (or shed) can the condemned hope to
      receive forgiveness in the next life”); see also Gardner, supra note 290, at 440 (discussing blood atonement). Starting in 1851,
      when Utah (before statehood) enacted its first capital punishment statute, those found guilty of murder were to be executed by
      way of “firing squad, hanging, or beheading at the court's or condemned's election.” 1852 Utah Terr. Laws tit. XII, pp. 142-43
      § 125 (“General Definition and Provision as to Crimes and Offenses”) (Mar. 6, 1852) (firing squad, hanging, or beheading at
      the court's or condemned's election). In 1898, Utah passed a capital punishment statute authorizing execution by firing squad



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      or hanging, but not beheading, and allowing the defendant a choice of methods. Utah Rev. Stat. § 4939 (1898) (firing squad
      or hanging at the condemned's election; court's choice if the condemned fails to choose a method). Only two men elected to
      be hanged under the 1898 statute. See BOWERS, PIERCE & MCDEVITT, supra note 44, at 13 n.h. (1984). If the defendant
      did not choose, the statute authorized the courts to decide the method of execution. It appears that Utah was the first state to
      give the condemned a choice of method of execution. GILLESPIE, supra note 234, at 12.
291   Gardner, supra note 290, at 448.
292   See Denno, Getting to Death, supra note 31, at 395; see also 1983 Utah Laws 112 § 1 (the Utah statute in effect in 1996; firing
      squad or lethal injection at the condemned's election; lethal injection if the condemned fails to choose a method); Utah Code
      Ann. § 77-18-5.5 (1953) (amended 1984). The 1983 law did not expressly indicate retroactive operation.
293   Denno, Getting to Death, supra note 31, at 395; James Brooke, Utah Hopes Next Execution Will Be Last by Firing Squad,
      SUNDAY OREGONIAN, Jan. 14, 1996, at A21; Nora McCarthy, All Ready to Kill / Utah Gets Calls for Firing Squad
      Volunteers, NEWSDAY (New York), Jan. 16, 1996, at A07.
294   See Denno, Getting to Death, supra note 31, at 395 nn.462-63; see also Brian McGrory, A Time of Executions; Firing Squad,
      Hanging Bring Issue to Forefront, BOSTON GLOBE, Jan. 26, 1996, at A1; Brad Knickerbocker, Death by Firing Squad
      Under the Gun, CHRISTIAN SCIENCE MONITOR, Jan. 25, 1996, at 4; Ian Katz, US Revives Firing Squad's Dying Art,
      GUARDIAN, Jan. 25, 1996, at 2.
295   McCarthy, supra note 294, at A07.
296   Id.
297   Knickerbocker, supra note 295, at 4.
298   1980 Utah Laws 15 § 2 (firing squad). The 1980 law did not expressly indicate retroactive operation.
299   1983 Utah Laws 112 § 1 (firing squad or lethal injection at the condemned's election; lethal injection if the condemned fails to
      choose a method); Utah Code Ann. § 77-18-5.5 (1953) (amended 1984). The 1983 law did not expressly indicate retroactive
      operation.
300   H.B. 180, 60th Leg, Gen. Sess. (Utah 2014) (removing the right of the condemned to choose the method of execution and
      leaving lethal injection as the only remaining option in the state).
301   On March 23, 2015, Utah Governor Gary Herbert signed legislation reauthorizing the state to use the firing squad in the event
      that the drugs required for lethal injection are unavailable. Before this move , the firing squad was an option, but was only
      allowed for inmates who chose this method prior to its elimination in 2004. H.B. 11, 61st Leg., Gen. Sess. (Utah 2015).
302   Cutler, supra note 32, at 400.
303   Nev. Rev. Stat. p. 2039 § 7281 (1912) (hanging or firing squad at the condemned's election; the court's choice if the condemned
      fails to choose a method). The 1912 law did not expressly indicate retroactive operation. Before 1912, hanging was the only
      option. Nev. Gen. Stat. Ann. 21 § 4348 (1885).
304   Phillip I. Earl, By the Knife: Tonopah's Gregovich-Mircovich Murder Case, in HISTORY AND HUMANITIES: ESSAYS
      IN HONOR OF WILBUR S. SHEPPERSON 15, 35-38 (Frances X. Hartigan ed., 1989) [hereinafter Earl, By the Knife];
      Phillip I. Earl, Nevada's Execution Machine, THE NEVADAN, Dec. 3, 1972, at 3 [[hereinafter Nevada's Machine]; see also
      CHRISTIANSON, supra note 40, at 62 (describing Mircovich's execution). The spelling of Mircovich's name varies depending
      on the source. See Earl, Nevada's Execution Machine, supra, at 3 (“Andrija Mirkovitch”), Earl, By the Knife, supra, at 18
      (“Andrija Mircovich”), and Christianson, supra, at 62 (“Andriza Mircovich”).
305   See Earl, Nevada's Execution Machine, supra note 305, at 3; Earl, By the Knife, supra note 305, at 30-31.
306   See Earl, Nevada's Execution Machine, supra note 305, at 3.
307   See id.



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308   See id.; Earl, By the Knife, supra note 305, at 38.
309   1921 Nev. Stat. 246 § 1 (lethal gas). In 1921, in an attempt to prove the state humane, the Nevada legislature passed a law
      providing that lethal gas was to be administered “without warning and while (the inmate was) asleep in his cell.” BOWERS,
      PIERCE & MCDEVITT, supra note 44, at 12. This procedure was never followed, however, because it was impossible to
      release the gas in a regular cell. Id. For a masterful discussion of the history and development of lethal gas and its use, see
      CHRISTIANSON, supra note 305.
310   See generally CHRISTIANSON, supra note 40; Denno, Getting to Death, supra note 31.
311   See generally CHRISTIANSON, supra note 40; Denno, Getting to Death, supra note 31.
312   Glossip v. Gross, 135 S. Ct. 2726, 2796 (Sotomayor, J., dissenting).
313   Cutler, supra note 32, at 362.
314   Mike Carter, Bill Voiding Firing-Squad Option Dropped, SALT LAKE TRIBUNE, Feb. 10, 1996, at E3.
315   Carlisle, supra note 244.
316   Id.
317   See supra notes 196-200 and accompanying text.
318   Wood v. Ryan, 759 F.3d 1076, 1103 (9th Cir. 2014). One reporter interviewing Judge Kozinski asked him if he was being
      serious about his recommendation of the firing squad. He replied that he “was quite serious,” referring to all the problems with
      lethal injection drugs. See Patt Morrison, Judge Alex Kozinski on Bringing Back Firing Squads: “No, I Wasn't Kidding”, L.A.
      TIMES, July 30, 2014, http://www.latimes.com/opinion/op-ed/la-oe-0731-morrison-kozinski-20140729-column.html. Robert
      Blecker has also advocated for the firing squad on a range of levels. For a particularly eloquent discussion, see BLECKER,
      supra note 32.
319   Glossip v. Gross, 135 S. Ct. 2726, 2796 (Sotomayor, J., dissenting).
320   Id. at 2797.
321   Id. at 2726.
322   Id.
323   See supra notes 106-54 and accompanying text.
324   See supra note 27 and accompanying text.

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